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                    Exhibit C
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Sierra Consulting Group, LLC
Two North Central Ave.Suite 700Phoenix, AZ 85004
                                                                                                602-424-7001



Invoice submitted to:
USA Commercial Mortgage
c/o Rob Charles
Lewis & Roca
3993 Howard Hughes Parkway, 6th
Floor
Las Vegas NV 89109

March 22, 2007
In Reference To:USA Commercial Mortgage
Invoice #10696



           Professional Services

                                                                                     Hrs/Rate         Amount

           Asset Sales

 7/27/2006 EMB Review term sheet from potential buyer.                                   0.20          59.00
                                                                                       295.00/hr

 7/31/2006 EMB Correspondence with other committee financial advisors on                 0.60         177.00
               debtor's marketing efforts and proposed meeting with bidders and        295.00/hr
               advisors. Follow up with counsel.

           EMB Review proposal by potential buyer and noted follow up issues to          0.80         236.00
               be discussed with counsel.                                              295.00/hr

  8/1/2006 EMB Participated on conference call with all committees to discuss sale       1.20         354.00
               issues and recommendations.                                             295.00/hr

           EMB Follow up with counsel on call to discuss sale issues.                    0.30          88.50
                                                                                       295.00/hr

  8/3/2006 EMB Participated in meeting with Mesirow to discuss sale process and          3.40        1,003.00
               issues for tomorrows hearing.                                           295.00/hr

  8/7/2006 EMB Prepared sale process outline in preparation of meeting with Tom          0.60         177.00
               Allison and sent to counsel and Tom Allison for review.                 295.00/hr

           EMB Review listing of parties who received information and signed term        0.20          59.00
               sheets.                                                                 295.00/hr

  8/8/2006 DWT Reviewed Hilco appraisals and printed them in order to create a           3.50         875.00
               schedule on a loan by loan basis                                        250.00/hr

 8/11/2006 DWT Created Summary of various purchase options for the USA entity            1.90         475.00
               assets and operations.                                                  250.00/hr
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                                                                                       Hrs/Rate          Amount

  8/14/2006 DWT Finalized sale offer comparison which compares at a summary                2.20          550.00
                level the copeting offers to purchase the debtors assets.                250.00/hr

            EMB Prepare asset summary for lisitng of assets to be sold and not for         0.30              88.50
                sale. Send to counsel for comments.                                      295.00/hr

            EMB Review summary of offers and noted differences for follow up.              0.50          147.50
                                                                                         295.00/hr

            EMB Conversation with counsel to discuss sale issues and meeting with          0.30              88.50
                potential buyer in LV.                                                   295.00/hr

  8/15/2006 EMB Modify offer summary per request of counsel to be distributed to           0.40          118.00
                committee and send to counsel for review.                                295.00/hr

            EMB Meet with potential buyer at L&R.                                          2.10          619.50
                                                                                         295.00/hr

            EMB Review and analysis of particular bid in preparation of meeting with       0.80          236.00
                bidder.                                                                  295.00/hr

  8/17/2006 EMB Prepared listing of USA assets proposed to be sold and sent to             1.20          354.00
                counsel.                                                                 295.00/hr

  8/21/2006 EMB Modified assets for sale balance sheet per request of counsel and          0.40          118.00
                distributed.                                                             295.00/hr

  8/22/2006 EMB Discussions with Mesirow regarding pending sale offers.                    0.40          118.00
                                                                                         295.00/hr

            EMB Participated on conference call to discuss asset sale topics.              1.30          383.50
                                                                                         295.00/hr

            EMB Read and make comments on new offer from potential buyer.                  0.50          147.50
                                                                                         295.00/hr

  8/24/2006 EMB Review of latest purchase offer summary. Drafted e mail and sent           0.60          177.00
                to counsel for review.                                                   295.00/hr

  8/25/2006 EMB Review and analysis of revised bid from potential bidder.                  0.50          147.50
                                                                                         295.00/hr

  8/28/2006 EMB Review revised offer from potential bidder and send revised bid            0.80          236.00
                summary to counsel for review.                                           295.00/hr

            EMB Call from Mesirow to discuss bid offer detail and assets for sale          0.60          177.00
                and attempted to call bidder to discuss.                                 295.00/hr

            DWT Update bid summary                                                         0.40          100.00
                                                                                         250.00/hr
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                                                                                       Hrs/Rate          Amount

  8/29/2006 EMB Conversation with Mesirow to discuss responces to potential                0.40          118.00
                bidders.                                                                 295.00/hr

            EMB Responded to service fee calculation from potential bidder and             0.70          206.50
                noted additional issues.                                                 295.00/hr

            EMB Conference call with potential bidder to dicuss asset detail and bid       1.20          354.00
                issues.                                                                  295.00/hr

            EMB Conversion with additional potential bidder.                               0.20              59.00
                                                                                         295.00/hr

  8/30/2006 EMB Review and draft e mails regarding updated bid from potential              0.40          118.00
                bidder.                                                                  295.00/hr

            EMB Created sale summary matrix on proposed recoveries per request             0.70          206.50
                of counsel.                                                              295.00/hr

  8/31/2006 EMB Review of revised bid and noted impact to UCC.                             1.20          354.00
                                                                                         295.00/hr

            EMB Discussion with counsel regarding sale issues.                             1.10          324.50
                                                                                         295.00/hr

            EMB Conversations with Mesirow and potential bidders regarding bid             1.20          354.00
                issues.                                                                  295.00/hr

   9/1/2006 EMB Conversation with Mesiow to discuss sale offer and counteroffers.          0.40          118.00
                                                                                         295.00/hr

            EMB Conversation with potential buyer regarding bid detail.                    0.60          177.00
                                                                                         295.00/hr

            EMB Read and comment on revised offer from potential bidder.                   0.50          147.50
                                                                                         295.00/hr

            EMB Review proposed bid and crossed referrenced acquired loans.                0.40          118.00
                                                                                         295.00/hr

            EMB Participated on committee call to discuss latest offers and possible       1.40          413.00
                counter offer.                                                           295.00/hr

            EMB Conversation with counsel and Mesirow regarding bids and                   0.60          177.00
                alternatives.                                                            295.00/hr

            EMB Conference call with committee to discuss the pending sale offers          0.80          236.00
                and revised counter offers.                                              295.00/hr

   9/3/2006 EMB Created summary of proposed loans and LSA's to be acquired per             2.10          619.50
                latest offer and drafted memo to counsel on related issues.              295.00/hr
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                                                                                        Hrs/Rate          Amount

   9/3/2006 EMB Read and comment on various e mails from counsel and other                  0.40          118.00
                committee counsel on latest counter proposal to potential bidder.         295.00/hr

   9/4/2006 EMB Read latest version of term sheet.                                          0.30              88.50
                                                                                          295.00/hr

            EMB Perform calculations on proposed fees to be purchased by                    0.60          177.00
                potential bidder.                                                         295.00/hr

            EMB Participate on conference call with counsel and Diversified advisors.       0.60          177.00
                                                                                          295.00/hr

            EMB Participate on conference call with debtor and all committees on            1.00          295.00
                pending offer.                                                            295.00/hr

            EMB Read various e mails from committee counsel and comments to                 0.70          206.50
                proposed counter to bidder.                                               295.00/hr

            EMB Drafted comments to counsel to be included in counter offer                 1.30          383.50
                including personal property listing.                                      295.00/hr

   9/5/2006 EMB Follow up with counsel and UCC on remaining loans to be serviced            0.60          177.00
                under the wind down scenario.                                             295.00/hr

            EMB Updated loan summary schedule with comments from today's call               0.60          177.00
                and noted repaid loans through Aug 31 and distributed to Don              295.00/hr
                Walker and counsel.

            EMB Review various correspondence regarding break up fees and made              0.30              88.50
                comments.                                                                 295.00/hr

            EMB Follow up with committee member on loan servicing issues.                   0.40          118.00
                                                                                          295.00/hr

            EMB Review bid to acquire loan serving agreement from USACM.                    0.30              88.50
                                                                                          295.00/hr

            EMB Call with Mesirow to disucss USACM committee's view of pending              1.00          295.00
                offer and related issues.                                                 295.00/hr

   9/6/2006 EMB Review latest offer from potential bidder.                                  1.10          324.50
                                                                                          295.00/hr

            EMB Drafted memo to counsel and committee regarding LSA's to be                 0.80          236.00
                assumed per potential bidder.                                             295.00/hr

            EMB Review correspondence from counsel on sale and responded to                 0.40          118.00
                specific issues.                                                          295.00/hr

            EMB Conversation with Mesirow to follow up from call with Tom                   0.80          236.00
                yesterday.                                                                295.00/hr
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                                                                                      Hrs/Rate          Amount

   9/6/2006 EMB Participate on all hands call with potential bidder.                      0.80          236.00
                                                                                        295.00/hr

            EMB Meet with Tom Allison and USA employee to discuss loans not               2.10          619.50
                anticipated to be paid off by end of year.                              295.00/hr

            EMB Conversation with committee member on loan servicing issues.              0.80          236.00
                                                                                        295.00/hr

            EMB Prepare exhibit of loans per meeting with Tom.                            0.70          206.50
                                                                                        295.00/hr

   9/7/2006 EMB Modified loan summary analysis for proposed acquired LSAs.                0.70          206.50
                                                                                        295.00/hr

   9/8/2006 EMB Participate on all hands call with debtor regarding sale term sheet       1.80          531.00
                                                                                        295.00/hr

            EMB Review latest proposed term sheet and exhibits, noted changes             1.50          442.50
                need to be made and sent to counsel.                                    295.00/hr

  9/11/2006 EMB Review latest exhibit listing per potential bidder.                       0.30              88.50
                                                                                        295.00/hr

            DWT Reviewed purchase offers from Silver Point compared to various            0.80          200.00
                other versions                                                          250.00/hr

            EMB Examine latest exhibit from potential bidder and gave comments to         1.20          354.00
                counsel and Mesirow.                                                    295.00/hr

  9/12/2006 EMB Review latest proposed bid and exhibits                                   1.20          354.00
                                                                                        295.00/hr

            EMB Participated in all hands call to discuss sale and plan issues.           2.50          737.50
                                                                                        295.00/hr

  9/13/2006 EMB Review listing of parties who have signed CA and forwarded to             0.40          118.00
                counsel with comments                                                   295.00/hr

            EMB Follow up with Mesirow on bidding procedures for review                   0.30              88.50
                                                                                        295.00/hr

            EMB Read final version of bid proposal and exhibits                           0.80          236.00
                                                                                        295.00/hr

  9/15/2006 EMB Drafted e mail to counsel and committee chairman on sale process          0.30              88.50
                concerns.                                                               295.00/hr

  9/18/2006 EMB Review confidentiality agreement and information request list as          0.50          147.50
                received from Mesirow.                                                  295.00/hr
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                                                                                       Hrs/Rate          Amount

  9/18/2006 EMB Read and gave comments on debtor's proposed bidding                        0.90          265.50
                procedures.                                                              295.00/hr

            EMB Continue to work on bid proceedures outline, reviewed comments             0.60          177.00
                from counsel on same and gave my comments.                               295.00/hr

  9/20/2006 EMB Review latest bid procedures and made comments                             0.30              88.50
                                                                                         295.00/hr

  9/21/2006 EMB Drafted comments on bidding procedures and bid calculations and            0.30              88.50
                shared with counsel.                                                     295.00/hr

  9/22/2006 EMB Participated on conference call with other FA's to discuss sale            0.60          177.00
                process and update.                                                      295.00/hr

  10/2/2006 EMB Drafted e mail to contacts regarding back up bidder protocol and           0.90          265.50
                directed inquiries to Mesirow to place bids.                             295.00/hr

  10/3/2006 EMB Follow up with various interested parties on sale issues.                  0.60          177.00
                                                                                         295.00/hr

  10/5/2006 EMB Conference call with Mesirow on sale update                                0.70          206.50
                                                                                         295.00/hr

            EMB Conversations with potential buyers                                        0.30              88.50
                                                                                         295.00/hr

  10/6/2006 EMB Review financial information from potential bidder and qualification       0.40          118.00
                as a bidder.                                                             295.00/hr

            EMB Responded to committee members question on potential bidder                0.50          147.50
                issue                                                                    295.00/hr

 10/10/2006 EMB Read latest version of amended APA.                                        0.20              59.00
                                                                                         295.00/hr

            EMB Read and make comments on proposed asset purchase                          1.30          383.50
                agreement. Send comment to counsel.                                      295.00/hr

 10/11/2006 EMB Meet with potential buyer at USA Capital to discuss sale and loan          1.30          383.50
                servicing issues.                                                        295.00/hr

 10/18/2006 EMB Read and comment on opposition to auction, bid procedures and              0.40          118.00
                protections.                                                             295.00/hr

 10/19/2006 EMB Review latest version of APA as received from counsel.                     0.70          206.50
                                                                                         295.00/hr

 10/23/2006 EMB Analysis of loan exhibits per final APA from Silver Point. Noted           0.50          147.50
                differences from prior version.                                          295.00/hr
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                                                                                       Hrs/Rate          Amount

 10/23/2006 EMB Meet with potential buyer at USACM                                         1.90          560.50
                                                                                         295.00/hr

            EMB Follow up meeting with Don Walker after meeting with potential             0.40          118.00
                buyer.                                                                   295.00/hr

  11/2/2006 EMB Follow up potential buyer per request of counsel                           0.20              59.00
                                                                                         295.00/hr

  11/6/2006 EMB Follow up on third party servicers and fess charged.                       0.70          206.50
                                                                                         295.00/hr

            EMB Read and review counsel's email notes on sale hearing and latest           0.20              59.00
                changes to APA.                                                          295.00/hr

  11/9/2006 EMB Read and review order scheduling auction and appoint SPCP as               0.70          206.50
                lead bidder.                                                             295.00/hr

 11/11/2006 EMB Review letter from potential bidder and IP.                                0.20              59.00
                                                                                         295.00/hr

 11/13/2006 EMB Review latest proposed offer from interested buyer.                        0.40          118.00
                                                                                         295.00/hr

 11/14/2006 EMB Read letter from potential bidder on propsoed line of credit. Send         0.20              59.00
                to counsel for review and comment.                                       295.00/hr

 11/17/2006 EMB Conversation with potential bidder on operations and infomration /         0.50          147.50
                data storage post effective date.                                        295.00/hr

 11/28/2006 EMB Review financial information and other data from potential bidder to       0.40          118.00
                be recognized as a qualified bidder.                                     295.00/hr

 11/29/2006 EMB Conversation with potential bidder regarding servicing rights and          0.70          206.50
                follow up with Mesirow.                                                  295.00/hr

            EMB Conversation with Mesirow regarding overbid proceedures and                0.20              59.00
                structure.                                                               295.00/hr

            DWT Read current purchase offers and analyzed impact to the                    0.90          225.00
                unsecured creditors                                                      250.00/hr

  12/1/2006 EMB Read and respond to debtors' counsel's e mail on Silver Point's            0.30              88.50
                demand to see competing bid offers.                                      295.00/hr

            EMB Conversation with bidder regarding bid increment.                          0.30              88.50
                                                                                         295.00/hr

            EMB Conversation with bidder regarding offer for USACM assets.                 0.40          118.00
                                                                                         295.00/hr
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                                                                                      Hrs/Rate          Amount

  12/1/2006 EMB Participated on conference call with debtor and other committees to       1.60          472.00
                review new bids and issues to qualify bidders.                          295.00/hr

  12/2/2006 EMB Analysis of qualification information on potential bidder.                0.30              88.50
                                                                                        295.00/hr

            EMB Read and responded to e mail from debtor's counsel on SP and              0.50          147.50
                other bids.                                                             295.00/hr

            EMB Drafted information request list to Mesirow to assist in assessing        0.20              59.00
                last bid.                                                               295.00/hr

            EMB Read latest e mail from Debtor's counsel regarding bids and               0.10              29.50
                purchase price issues.                                                  295.00/hr

            EMB Conversation with counsel on new bids and qualification issues.           0.20              59.00
                                                                                        295.00/hr

            EMB Review new bids from latest two offers and noted differences from         1.20          354.00
                SP.                                                                     295.00/hr

            EMB Conversation with FTI on new bid and qualification issues.                0.30              88.50
                                                                                        295.00/hr

            EMB Read letter to bidder from FTDF for additional information and            0.20              59.00
                definitions on their bid.                                               295.00/hr

            EMB Drafted memo to counsel and committee chair on differences                0.40          118.00
                between APA from bidders.                                               295.00/hr

            EMB Review term sheet on letter of credit for bidder.                         0.20              59.00
                                                                                        295.00/hr

  12/4/2006 EMB Participate on conference call with potential bidder to discuss           0.50          147.50
                qualification issues and bid amount.                                    295.00/hr

            EMB Conversation with Mesirow regarding qualifiying potnetial bidders.        0.30              88.50
                                                                                        295.00/hr

            EMB Participated on call with debtor and other committee's to discuss         1.00          295.00
                offers, qualification of bidders and other issues.                      295.00/hr

  12/5/2006 EMB Analysis of revised proposed term sheet from potential bidder.            0.30              88.50
                                                                                        295.00/hr

            EMB Work with debtor on qualification of bidder issues.                       0.70          206.50
                                                                                        295.00/hr

            EMB Particapte on call with debtor and other committee to determine           1.30          383.50
                value of bid for USACM assets.                                          295.00/hr
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                                                                                        Hrs/Rate         Amount

  12/5/2006 EMB Read e mail from debtor's counsel regarding new bid and                     0.40         118.00
                qualification issues. Follow up with UCC counsel.                         295.00/hr

            EMB Proposed to counsel the sharing arrangement with FTDF for any               0.20             59.00
                non-refundable deposit from potential bidders.                            295.00/hr

            EMB Call with debtor and potential bidder regarding asset values and            0.70         206.50
                closing issues.                                                           295.00/hr

            EMB Review all detail in assets for sale per latest offer from potential        0.60         177.00
                bidder and prepared to discuss on committee call.                         295.00/hr

  12/6/2006 EMB Conversation with investment banker representing potential bidder           0.60         177.00
                on qualification issues.                                                  295.00/hr

            EMB Conversation with T. Allison and B. Fasel to discuss asset sale and         0.50         147.50
                bids.                                                                     295.00/hr

            EMB Prepared e mail to Silver Point on default interest per request of          0.30             88.50
                counsel.                                                                  295.00/hr

            EMB Conversation with Compass Partners on bid valuation, assets to be           1.00         295.00
                sold and excluded and other sale issues.                                  295.00/hr

            EMB Read and respond to various e mails from counsel and debtor on              1.20         354.00
                sale issues.                                                              295.00/hr

            EMB Participate in meeting at G&S with Debtor and other committees to           2.90         855.50
                discuss court auction to be held tomorrow.                                295.00/hr

  12/7/2006 EMB Attended court hearing for auction and sale of debtors' assets.             4.50        1,327.50
                Assisted in negotiations with bidders.                                    295.00/hr

            EMB Communication with counsel and committee member regarding                   0.40         118.00
                asset sales and auction.                                                  295.00/hr

            EMB Meet with representatives of third bidder and debtor to discuss             1.60         472.00
                terms of bid and excluded assets.                                         295.00/hr

            EMB Attended court hearing regarding bidder qualification and other             2.40         708.00
                issues on calendar.                                                       295.00/hr

            EMB Review of e mails regarding changes to APA of potential bidders to          0.90         265.50
                ensure certain language in assets was made. Responded to                  295.00/hr
                counsel

            EMB Meet with potential bidder to discuss APA and assets to be                  0.90         265.50
                excluded.                                                                 295.00/hr

  12/8/2006 EMB Prepared summary of assets sold and estimated amounts per                   0.30             88.50
                committee chairman's request.                                             295.00/hr
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                                                                                     Hrs/Rate         Amount

 12/11/2006 EMB Begin anlysis of assets sold and to remain with the trust with           0.80         236.00
                approx. values                                                         295.00/hr

 12/13/2006 EMB Completed analysis and sumamry of asset recoveries for assets            0.70         206.50
                sold and to be kept by USACM. Sent to counsel to be reviewed and       295.00/hr
                distributed to committee members.

            EMB Analysis of revised exhibits per Compass Partners and compared           0.90         265.50
                to stalking horse bidder.                                              295.00/hr

            EMB Conversation with Compass Partners regarding plan confirmation           0.40         118.00
                and objections.                                                        295.00/hr

            EMB Preapred analysis of overbid allocation and sent to counsel for          0.60         177.00
                comment.                                                               295.00/hr

 12/14/2006 EMB Read and comment on draft motion to determine allocation of              0.30             88.50
                Compass overbid.                                                       295.00/hr

 12/15/2006 EMB Conversation with DTDF attorney regarding Compass APA exhibits.          0.40         118.00
                                                                                       295.00/hr

 12/18/2006 EMB Conversation with Mesirow regarding overbid allocation issues and        0.60         177.00
                declartion for hearing.                                                295.00/hr

 12/22/2006 EMB Work with Compass and counsel to resolve issues related to               1.20         354.00
                personal property and access to information.                           295.00/hr

  1/25/2007 EMB Read letter from trustee to Compass Partners regarding computer          0.20             59.00
                equipment and documentation and related transition issues.             295.00/hr

  1/26/2007 EMB Review and commented on motion for order on overbid allocation           1.20         354.00
                as well as declaration of Kvarda and gave comments to counsel.         295.00/hr

            EMB Review and comment on declaration of Fasel, compared data to             1.60         472.00
                APA schedules and reconciled to prior overbid analysis and send        295.00/hr
                comments to counsel.

            EMB Participate on conference call with Mesirow, debtor's counsel and        0.60         177.00
                UCC counsel to discuss overbid allocation issues and responses.        295.00/hr

   2/9/2007 EMB Review e mails on Compass licensing issues.                              0.20             59.00
                                                                                       295.00/hr

  2/12/2007 EMB Participate on conference call regarding Purchase Price                  1.00         295.00
                Adjustment due to loan collections.                                    295.00/hr

  2/13/2007 EMB Particpate on conference call with debtor, other committees and          0.70         206.50
                Compass to discuss potential purchase price adjestments.               295.00/hr
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                                                                                          Hrs/Rate         Amount

  2/13/2007 EMB Read and review draft of license agreement and shared service                 0.50         147.50
                agreement between USACM and Compass and gave comments.                      295.00/hr

            EMB Review of draft and made edits to declation in support of response            1.30         383.50
                to motion to enforse allocation of sales proceeds, disucussed with          295.00/hr
                counsel and had filed.

            EMB Particpate on all hands call prior to the Compass call regarding              0.50         147.50
                purchase price reduction.                                                   295.00/hr

  2/15/2007 EMB Review worksheet on loan closing proceeds to the USACM estate                 0.80         236.00
                and gave comments                                                           295.00/hr

            EMB Conversations with S. Smith regarding escrow closing issues and               0.70         206.50
                amounts due to USACM                                                        295.00/hr

            EMB Conversation with counsel regarding closing statements and                    0.30             88.50
                escrow reserves.                                                            295.00/hr

  2/16/2007 EMB Addtitional conversations with counsel and S. Smith regarding                 1.10         324.50
                closing, escrow amounts, and related exhibits for closing.                  295.00/hr

            EMB Additional conversations with S. Smith regarding FTDF and                     0.70         206.50
                USACM escrow holdbacks and follow up with counsel.                          295.00/hr

  2/20/2007 EMB Participate on conference call regarding escrow holdbacks and                 0.90         265.50
                cash transfers.                                                             295.00/hr

            EMB Work with S. Smith on revised proposed escrow issues.                         0.60         177.00
                                                                                            295.00/hr

  2/22/2007 EMB Read and comment on FTDF reply in support of 1142(b) motion                   0.90         265.50
                including exhibits and other supporting documents.                          295.00/hr

  2/23/2007 EMB Continue to review FTDF reply to USACM UCC response to 1142                   0.90         265.50
                motion as well as issues with declaration and follow up with                295.00/hr
                counsel.

  2/26/2007 EMB Follow up with counsel on 1142 issues and hearing this week and               0.30             88.50
                possible attandacne.                                                        295.00/hr

  2/27/2007 EMB Read latest stay response and made comment.                                   0.60         177.00
                                                                                            295.00/hr

   3/5/2007 EMB Drafted memo and performed calculations on overbid allocation                 2.10         619.50
                arguments and sent to counsel for comment.                                  295.00/hr


            SUBTOTAL:                                                                [      139.20       40,627.50]
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                                                                                       Hrs/Rate         Amount

            Claims Analysis

   3/1/2007 EMB Met with S. Smith to discuss claims analyses and drafted e mails           0.90         265.50
                requesting information and data on executory contracts and related       295.00/hr
                claims to be analyzed.

   3/2/2007 EMB Analysis of claims database as received from Mesirow.                      0.40         118.00
                                                                                         295.00/hr

            EMB Analysis of filed claims and possible objections to certain claims,        1.10         324.50
                discussed with counsel.                                                  295.00/hr

            EMB Communicate with counsel regarding objection to scheduled                  0.20             59.00
                amounts                                                                  295.00/hr

            EMB Requested information and analyses performed on scheduled                  0.30             88.50
                claims that may be subject to an objection.                              295.00/hr

   3/5/2007 DWT Gathered read and reviewed executory contracts for building leases         2.10         525.00
                                                                                         250.00/hr

            EMB Performed analyses on contract rejection claims and other claims           1.30         383.50
                per request of counsel.                                                  295.00/hr

            DWT Read and reviewed POC - Tanamara, Pecos, Haspinov                          2.20         550.00
                                                                                         250.00/hr

            DWT Performed preliminary 502b(6) calculations for Pecos, Haspinov             0.70         175.00
                and Tamamara                                                             250.00/hr

            DWT Reviewed claim database and claim summary file                             2.00         500.00
                                                                                         250.00/hr

   3/6/2007 DWT Read and reviewed POC and lease documents- Tanamara, Pecos,                1.10         275.00
                Haspinov                                                                 250.00/hr

            DWT Compared amended schedule E compared to previous versions                  1.40         350.00
                                                                                         250.00/hr

            DWT Compared amended schedule F and F-1 compared to previous                   3.10         775.00
                versions                                                                 250.00/hr

            DWT Performed 502b(6) calculations for Pecos, Haspinov and                     2.30         575.00
                Tamamara                                                                 250.00/hr

            EMB Work on analysis of executory contract claims for building rent and        0.80         236.00
                follow up with counsel.                                                  295.00/hr

            EMB Further analysis of scheduled amount per schedule E and F and              0.80         236.00
                noted claims to be objected to and sent memo to counsel.                 295.00/hr
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                                                                                          Hrs/Rate         Amount

   3/6/2007 EMB Analysis of executory contract claims, 502 b rejection amounts and            0.60         177.00
                pre petition amounts and sent to counsel with comments.                     295.00/hr

            EMB Conference call with DSI to discuss claims objection process and              0.30             88.50
                work plan meeting.                                                          295.00/hr

   3/7/2007 DWT Reviewed calculations of Haspinov lease rejection claims                      0.70         175.00
                                                                                            250.00/hr

            DWT Reviewed calculations of Pecos rejection claims                               0.60         150.00
                                                                                            250.00/hr

            DWT Reviewed calculations of Tanamara lease rejection claims                      0.80         200.00
                                                                                            250.00/hr

            DWT Reviewed amended schedules                                                    0.50         125.00
                                                                                            250.00/hr

            DWT Researched possible sublease issues related to lease rejections               1.20         300.00
                                                                                            250.00/hr

            DWT Created summary of 502b(6) calcs and compared the result to                   1.40         350.00
                landlord claims                                                             250.00/hr

   3/8/2007 DWT Reviewed BMC site for contents and copied several proof of claims             0.40         100.00
                                                                                            250.00/hr

            DWT Prepared summary schedule comparing amended schedules                         2.10         525.00
                                                                                            250.00/hr

   3/9/2007 DWT Reviewed amended schedule F-1 to attempt to quantify changes                  1.30         325.00
                from previous versions and communicated results                             250.00/hr

  3/10/2007 EMB Read, review and gave comments to counsel on various executory                0.80         236.00
                contract motions and supporting declaration.                                295.00/hr

            EMB Read and review draft of declaration and motion for claims                    1.10         324.50
                objections.                                                                 295.00/hr

  3/12/2007 EMB Develop work plan for claims objection process and meeting with               0.60         177.00
                Mesirow and DSI tomorrow.                                                   295.00/hr


            SUBTOTAL:                                                                [       33.10        8,689.00]

            Depos, trial prep/attend

   8/4/2006 EMB Attended court hearing on motion to disburse funds, use of cash               3.90        1,150.50
                and other issues.                                                           295.00/hr
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                                                                                           Hrs/Rate         Amount

  8/16/2006 EMB Listened to part of court hearing via call.                                    0.40         118.00
                                                                                             295.00/hr

  8/31/2006 EMB Prepared for and attended court hearing.                                       2.10         619.50
                                                                                             295.00/hr

  9/28/2006 EMB Prepare for and attend court hearing regarding various issues.                 4.50        1,327.50
                                                                                             295.00/hr

  11/9/2006 EMB Attended deposition of JM.                                                     2.80         826.00
                                                                                             295.00/hr

  2/28/2007 EMB Read and review my declaration regarding overbid allocation,                   2.60         767.00
                review FTDF response, analysis of overbid allcoation calcualtions            295.00/hr
                and did additional preperation for possible tesimony at tomorrow's
                hearing.

   3/1/2007 EMB Review various court documents and declarations in preparation                 0.60         177.00
                for today's hearing and possible testimony.                                  295.00/hr

            EMB Attend court hearing regarding various matters including stay                  4.20        1,239.00
                appeal and 1142.                                                             295.00/hr


            SUBTOTAL:                                                                 [       21.10        6,224.50]

            Financial Analysis & Rvw

  7/14/2006 DWT Read various materials related to the case including motion to                 2.50    NO CHARGE
                distribute funds and motion to continue to use cash.                         250.00/hr

  7/16/2006 DWT Read UCC presentation from Mesirow and the Payment                             2.80         700.00
                authorization order with Exhibits.                                           250.00/hr

  7/17/2006 DWT Reviewed and summarized the Statement of Assets and Liabilities                1.80         450.00
                for First Trust and Diversified Fund.                                        250.00/hr

            DWT Reviewed and summarized the Statement of Assets and Liabilities                0.90    NO CHARGE
                for USA Realty and USA Securities.                                           250.00/hr

            EMB Further analysis of pre paid interest and other assets of of USACM.            0.60         177.00
                                                                                             295.00/hr

            EMB Review USACM schedule of assets and laibilites and noted certain               0.80         236.00
                assets including prepaid amounts. Included issues in propsoed                295.00/hr
                work plan.

            DWT Read and printed Shedule of Assets/Liabilities and Statement of                2.90         725.00
                Financial Affairs and prepared summarized financial statements for           250.00/hr
                USA Commercial Mortgage Company.
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                                                                                      Hrs/Rate         Amount

  7/17/2006 DWT Reviewed financial statements for each of the five debtor entities        2.20         550.00
                per the Statement of Financial Affairs.                                 250.00/hr

  7/18/2006 EMB Phone conversation with FTI regarding Invesntment Partner update.         0.30             88.50
                                                                                        295.00/hr

            EMB Review debtor's 13 week cash flow model and drafted questions for         0.40         118.00
                debtor.                                                                 295.00/hr

  7/19/2006 EMB Read and review loan funding requirement presentation as                  0.30             88.50
                distributed by debtor.                                                  295.00/hr

  7/21/2006 DWT Created statement of assets and liability summary for USA Capital         3.70         925.00
                and noted inter-company issues.                                         250.00/hr

  7/22/2006 EMB Responded to question from counsel on USACM assets per                    0.30             88.50
                schedule and reclassification from original schedules.                  295.00/hr

            EMB Drafted comments on cash flow budget for counsel.                         0.20             59.00
                                                                                        295.00/hr

  7/24/2006 EMB Reviewed USACM monthly operating report summary.                          0.40         118.00
                                                                                        295.00/hr

            EMB Researched intercompany liabilities per the filed schedules per           0.40         118.00
                request of committee chairperson.                                       295.00/hr

  7/27/2006 EMB Discussed cash flow budget due diligence with counsel, requested          0.60         177.00
                access to information from Mesirow, and developed action plan.          295.00/hr

            DWT Reviewed loan summary detail; Tested cash flow sensitivity based          2.70         675.00
                on adjustment of certain assumptions including professional fees        250.00/hr
                and service revenue

  7/28/2006 EMB Review disc of loan documents as received from counsel.                   0.40         118.00
                                                                                        295.00/hr

  7/31/2006 EMB Analysis of loan summary report as of June 30 and estimated               0.50         147.50
                amount of pre paid interest collected.                                  295.00/hr

   8/1/2006 DWT Drafted a follow up list of questions related to cash flow summary        0.80         200.00
                                                                                        250.00/hr

            DWT Discussed the cash flow detial with various members of the debtor         2.70         675.00
                advisor team.                                                           250.00/hr

            DWT Summarized statement of assets and liabilities versus monthly             2.90         725.00
                operating reports to analyze differences and account detail             250.00/hr

            DWT Reviewed organization chart and personnel of USA Capital                  0.50         125.00
                                                                                        250.00/hr
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                                                                                        Hrs/Rate         Amount

   8/1/2006 DWT Reviewed loan monitoring report                                             1.60         400.00
                                                                                          250.00/hr

   8/2/2006 DWT Examined extension fee detail from the monthly operating report             2.30         575.00
                compared to the Mesirow Loan monitoring report detail                     250.00/hr

            EMB Meet with Mesirow to follow up on cash flow projection                      1.50         442.50
                assumptions.                                                              295.00/hr

            DWT Summarized list of assets in order to determine the value/status of         1.90         475.00
                each                                                                      250.00/hr

            DWT Drafted a follow up list of questions related to the loan monitoring        1.00         250.00
                report                                                                    250.00/hr

            DWT Reviewed loan summary detail provided by Mesirow                            1.50         375.00
                                                                                          250.00/hr

   8/3/2006 DWT Investigated asset values on commerial mortgage's books and                 1.40         350.00
                attempted to understand collectibility                                    250.00/hr

            DWT Reviewed the cash flow support including payroll headcount and              1.10         275.00
                other operating expenses                                                  250.00/hr

            EMB Met with Mesirow to discuss set off calculations.                           0.40         118.00
                                                                                          295.00/hr

            EMB Met with counsel and DTDF advisor to discuss Investment Partners.           3.80        1,121.00
                                                                                          295.00/hr

            DWT Began to create a template that will be used to report critical             2.50         625.00
                financial information to creditors                                        250.00/hr

   8/4/2006 DWT Reviewed docket and read most recent filings related to loan                1.80         450.00
                payment distributions.                                                    250.00/hr

   8/7/2006 EMB Review summary of loan appraisals as received from committee                0.40         118.00
                chairman and had additional information included on summary.              295.00/hr

            EMB Analysis of loan summary report and appraised values.                       0.60         177.00
                                                                                          295.00/hr

            DWT Summarized on a loan by loan basis the principal paid prep and              3.40         850.00
                post bankrupcy filing.                                                    250.00/hr

            DWT Summarized on a loan by loan basis the appraisal value versus the           2.70         675.00
                prepaid interest                                                          250.00/hr

   8/8/2006 EMB Continue review of loan summary and related pre petition interest.          0.40         118.00
                Distributed to counsel and committee chairman for review and              295.00/hr
                comments.
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                                                                                        Hrs/Rate         Amount

   8/8/2006 DWT Reviewed appraisal reports and tied to previous reports as well as          2.70         675.00
                set up templete to review each asset class for review and                 250.00/hr
                comments

            DWT Summarized extention fees and other assets based on                         2.60         650.00
                comprehensive loan by loan summary that includes appraisal                250.00/hr
                information

   8/9/2006 DWT Created schedule to monitor extension fees on a monthly basis               0.80         200.00
                                                                                          250.00/hr

            DWT Began master loan database to use going forward for summary                 2.60         650.00
                analysis and report generation.                                           250.00/hr

            DWT Created schedule to monitor prepaid interest on a monthly basis.            1.60         400.00
                                                                                          250.00/hr

            DWT Created schedule to monitor service fees on a monthly basis                 1.40         350.00
                                                                                          250.00/hr

  8/10/2006 DWT Continued creating master loan data spreadsheet that will be used           1.80         450.00
                for all future status summary analysis on a month to month basis.         250.00/hr

            DN    Meeting with James Reed to agree to work flow, procedures, etc.           0.30             75.00
                                                                                          250.00/hr

            DN    Review of available information regarding performing,                     1.70         425.00
                  non-performing loan assets                                              250.00/hr

            DN    Review, analysis of various documents filed with bankruptcy courts        2.20         550.00
                  related to projections.                                                 250.00/hr

  8/11/2006 DWT Updated master loan summary.                                                1.70         425.00
                                                                                          250.00/hr

            DN    Continue review and analysis of documents filed with bankruptcy           1.80         450.00
                  courts including cash budget                                            250.00/hr

            DN    Analysis of revenue streams (historically reported vs. forecasted)        1.90         475.00
                                                                                          250.00/hr

            EMB Modified work plan and list of requested information for Mesirow.           0.80         236.00
                                                                                          295.00/hr

            EMB Drafted e mail to Mesirow to request data and access to personnel           0.30             88.50
                for various financial analyses.                                           295.00/hr

  8/13/2006 DWT Reviewed fee summary for the case to date per request of counsel.           0.70         175.00
                                                                                          250.00/hr
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                                                                                         Hrs/Rate         Amount

  8/14/2006 DWT Traced Hilco appraisal data to loan master schedule received from            1.80         450.00
                attorney to verify accuracy.                                               250.00/hr

            EMB Analysis of latest loan file from Mesirow and noted issues for follow        0.80         236.00
                up. Drafted e mail to counsel regarding same.                              295.00/hr

            DWT Compared statement of assets and liabilities to the month end                1.40         350.00
                values per the monthly operating reports April - June                      250.00/hr

  8/15/2006 DN    Comparison of payroll documents to org chart to reported and               2.00         500.00
                  forecasted salaries & benefits expense                                   250.00/hr

            DWT Created summary of financial statements compared to Statement                3.20         800.00
                of Assets and Liabilities and Monthly Operating Reports                    250.00/hr

            EMB Meet with Mesirow to discuss document requests, access to                    0.80         236.00
                information and other procedures.                                          295.00/hr

            DWT Reviewed financial statements received from client from March,               2.70         675.00
                April and May 2006                                                         250.00/hr

            DN    Comparison of headcount on company org chart to reported,                  1.60         400.00
                  forecasted, salaries & benefits expenses                                 250.00/hr

            DN    Meeting w/James Reed to ask questions regarding cash flow                  0.70         175.00
                  projections and assumptions, financial statements, etc.                  250.00/hr

            DN    Analysis of forecasted revenue streams per Mesirow from                    2.30         575.00
                  historically reported vs. forecasted                                     250.00/hr

            EMB Analysis of USACM YTD financial data as received from Mesirow.               0.90         265.50
                                                                                           295.00/hr

            DN    Analysis & review of available information supporting actual and           1.70         425.00
                  forecasted rent expense                                                  250.00/hr

  8/16/2006 DWT Created consolidated financial report using actual jan - mar                 1.40         350.00
                information compared to stmt of assets and liab and monthly                250.00/hr
                operating report - income statements

            DWT Created variance analysis of actual financial statements verus               1.00         250.00
                monthly operating report                                                   250.00/hr

            DWT Created consolidated financial report using actual april - may               1.10         275.00
                information compared to stmt of assets and liab and monthly                250.00/hr
                operating report - balance sheets

            DWT Created consolidated financial report using actual april - may               0.80         200.00
                information compared to stmt of assets and liab and monthly                250.00/hr
                operating report - income statements
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                                                                                        Hrs/Rate         Amount

  8/16/2006 EMB Review summary of financial statement vs. operating report                  1.60         472.00
                comparison. Noted issues for follow up.                                   295.00/hr

            DN    Met with Mesirow regarding schedule of assets & liabilities to            2.10         525.00
                  financial statements to cash flow forecast                              250.00/hr

            DN    Update schedule of assets & liabilities to financial statements to        1.70         425.00
                  cash flow forecast                                                      250.00/hr

            DN    Continue analysis of schedule of assets & liabilities to financial        2.20         550.00
                  statements to cash flow forecast                                        250.00/hr

            DN    Meeting with Susan Smith to agree to procedures, obtain details on        0.60         150.00
                  preliminary reported financial results                                  250.00/hr

            DWT Created consolidated financial report using actual jan - mar                2.60         650.00
                information compared to stmt of assets and liab and monthly               250.00/hr
                operating report - balance sheets

            EMB Conversation with committee chair regarding financial statements.           0.20             59.00
                                                                                          295.00/hr

            DN    Meetings/introductions with various Mesirow and USACMC                    0.90         225.00
                  finance/accounting personnel                                            250.00/hr

  8/17/2006 DN    Review and analysis of cash flow actual results vs. projections           2.50         625.00
                                                                                          250.00/hr

            DWT Estimated service revenue receivable through 2007 assuming an               1.60         400.00
                orderly portfolio runoff of performing loans                              250.00/hr

            DN    Detailed review & analysis of cash flow assumptions per Mesirow.          1.90         475.00
                                                                                          250.00/hr

            DN    Modified analysis of cash flow projections per comments from USA          1.80         450.00
                                                                                          250.00/hr

            DWT Created model to project service fee revenue and the associated             3.20         800.00
                build up in service fee receivable based on estimated cash                250.00/hr
                collections.

            EMB Analysis of service fee receivable per schedule of assets and               0.70         206.50
                current balance sheet.                                                    295.00/hr

            DN    Review schedule of assets & liabilities to financial statements to        1.80         450.00
                  cash flow forecast                                                      250.00/hr

            EMB Conversation with counsel regarding balance sheet items, modified           0.50         147.50
                summary and distributed.                                                  295.00/hr
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                                                                                            Hrs/Rate         Amount

  8/21/2006 EMB Analysis of recent loan activity and tied back to historic detail.              0.80         236.00
                                                                                              295.00/hr

             EMB Requested professional fee data for analysis as requsted by                    0.30             88.50
                 committee. Follow up with counsel.                                           295.00/hr

             EMB Review of weekly collection summary per Mesirow. Requested                     0.40         118.00
                 data to be broken out by principal v. interest.                              295.00/hr

             DWT Created a schedule to summarize collateral value by loan with a                1.40         350.00
                 maximum value equal to the loan value not taking into                        250.00/hr
                 consideration equity value.

             DWT Discussed various issues on request list with Mesirow.                         1.30         325.00
                                                                                              250.00/hr

  8/22/2006 EMB Worked with counsel on fee application detail requests and                      1.10         324.50
                analysis of fees by estate.                                                   295.00/hr

             DWT Read, reviewed and added Lone Star proposal to the offer summary               1.50         375.00
                                                                                              250.00/hr

             DN     Prep & delivery of questions and requests for additional information        1.40         350.00
                    regarding cash flow forecast                                              250.00/hr

             DWT Analyzed collectibility of accounts receivable - related partys                1.50         375.00
                                                                                              250.00/hr

             DWT Analyzed collectibility of accounts receivable - trade                         1.80         450.00
                                                                                              250.00/hr

             DWT Analyzed collectibility of accounts receivable - other                         1.00         250.00
                                                                                              250.00/hr

             DWT Analyzed collectibility of accounts receivable - Colt Gateway                  0.60         150.00
                                                                                              250.00/hr

             DN     Prep & delivery of questions and requests for additional information        2.00         500.00
                    regarding cash flow forecast                                              250.00/hr

             EMB Review of June financial and had included in monthly summary.                  0.40         118.00
                                                                                              295.00/hr

  8/23/2006 DN      Analysis of recent actual results vs. projections                           2.30         575.00
                                                                                              250.00/hr

             DN     Follow up on actual financial results with Mesirow.                         1.80         450.00
                                                                                              250.00/hr

             EMB Researched related party AR and NR to exclude from assets to be                1.30         383.50
                 sold.                                                                        295.00/hr
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                                                                                     Hrs/Rate         Amount

  8/23/2006 DN    Noted difference in cash flow actual results vs. projections           0.90         225.00
                                                                                       250.00/hr

            DWT Reviewed Mesirow bill detail and created analysis to adjust              2.90         725.00
                allocation of time.                                                    250.00/hr

            DWT Reviewed Ray Quinney bill detail and created analysis to adjust          2.80         700.00
                allocation of time.                                                    250.00/hr

            DN    Comparison of payroll documents to org chart to reported and           1.90         475.00
                  forecasted salaries & benefits expense                               250.00/hr

            DN    Continue review and analysis of cash flow actual results vs.           1.10         275.00
                  projections                                                          250.00/hr

            EMB Review Loan Summary as provided by Mesirow and made notes                1.20         354.00
                on follow up issues as well as compared to previous schedules.         295.00/hr

  8/24/2006 EMB Review amended USACM SOFA and made summary of potential                  1.20         354.00
                avoidance actions against insiders.                                    295.00/hr

            DN    Review and analysis of monthly operating reports                       1.80         450.00
                                                                                       250.00/hr

            EMB Analysis of historic financial performance of USA and drafted            0.90         265.50
                memo to counsel and committee chairperson on financials.               295.00/hr

            DN    Noted additional difference in cash flow actual results vs.            2.60         650.00
                  projections                                                          250.00/hr

            DN    Follow up on actual financial results with Mesirow.                    2.10         525.00
                                                                                       250.00/hr

            DN    Modified analysis of cash flow actual results                          1.70         425.00
                                                                                       250.00/hr

            DWT Reviewed Schwartzer bill detail and created analysis to adjust           2.10         525.00
                allocation of time.                                                    250.00/hr

            DWT Updated financial statement summary schedule with June 2006              2.00         500.00
                results.                                                               250.00/hr

  8/25/2006 DWT Created detailed summary of time/expense detail re-allocation            2.80         700.00
                using estimated adjusted time per debtor entity.                       250.00/hr

            DWT Proposed adjustments needed to finalize re-allocation of time and        1.50         375.00
                expense detail.                                                        250.00/hr

            EMB Review monthly bills and summary for professionals who are               0.40         118.00
                charging time to USACM.                                                295.00/hr
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                                                                                         Hrs/Rate         Amount

  8/25/2006 EMB Review summary of 13 week cash flow forecast and explaination of             0.70         206.50
                assumptions.                                                               295.00/hr

  8/27/2006 DN    Review and analysis of cash flow actual results per operating              2.10         525.00
                  reports vs. projections                                                  250.00/hr

            DN    Review and analysis of cash flow actual results vs. projections            1.60         400.00
                                                                                           250.00/hr

  8/28/2006 DWT Finalize time summary analysis among professionals                           2.10         525.00
                                                                                           250.00/hr

            DWT Reviewed actual versus forecast cash flow report                             0.80         200.00
                                                                                           250.00/hr

            EMB Review of analysis of the debtors 13 week cash flow as compared              1.20         354.00
                to actual and drafted memo to counsel and committee.                       295.00/hr

            EMB Finalized initial review of professional fess through June and               1.10         324.50
                drafted memo to counsel on allocations to other estates.                   295.00/hr

            DN    Continue follow up with Mesirow on actual results issues                   1.90         475.00
                                                                                           250.00/hr

            DN    Review and analysis of monthly operating reports                           2.50         625.00
                                                                                           250.00/hr

            DWT Received and reviewed the 17,000 plus file disk of binder detail that        2.10         525.00
                was scanned from binders that exist in Susan Smith's office.               250.00/hr

  8/29/2006 DWT Created service fee revenue, cash collection and revenue estimate            1.80         450.00
                to demonstrate value of servicing contracts as an asset                    250.00/hr

            DWT Reviewed hard asset appraisal                                                0.40         100.00
                                                                                           250.00/hr

            DWT Summarized collections by week.                                              0.90         225.00
                                                                                           250.00/hr

            DN    Follow-up on details re compensation cash flow actuals                     0.70         175.00
                                                                                           250.00/hr

            DWT Reviewed loan file detail on pdf files                                       1.10         275.00
                                                                                           250.00/hr

            DN    Preparation, review, and analysis of trended MOR and financial             3.10         775.00
                  statement results                                                        250.00/hr

            DN    Review of Aug weekly collections distributed by Mesirow Financial          1.30         325.00
                                                                                           250.00/hr
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                                                                                        Hrs/Rate         Amount

  8/29/2006 DN     Prep & delivery of question re compensation cash flow actuals            0.90         225.00
                                                                                          250.00/hr

  8/30/2006 DWT Reviewed most recent "Loan monitoring report" and noticed exit              1.70         425.00
                fees and have not been able to trace them as an accrued asset to          250.00/hr
                any financial report or statement.

            DWT Met with client to follow up on various questions related to open           2.50         625.00
                items that have accumulated as a result of analysis of numerous           250.00/hr
                items including financail statemetns and loan summaries.

            DN     Review of Aug weekly collections distributed by Mesirow Financial        0.90         225.00
                                                                                          250.00/hr

            DN     Continue review of Aug weekly collections distributed by Mesirow         1.20         300.00
                   Financial                                                              250.00/hr

            DN     Prep & delivery of requests for additional information re various        1.10         275.00
                   actual P&L line items                                                  250.00/hr

            DN     Review of reported P&L actual results through June '06                   1.90         475.00
                                                                                          250.00/hr

  8/31/2006 DWT Researched pension plan liability to determine whether it is a              1.10         275.00
                defined benefit, contribution or other type of plan.                      250.00/hr

            DN     Review of Aug weekly collections distributed by Mesirow Financial        1.90         475.00
                                                                                          250.00/hr

            DN     Continue review of Aug weekly collections distributed by Mesirow         1.80         450.00
                   Financial                                                              250.00/hr

            DN     Conversation with James Reed regarding additional information            0.40         100.00
                   requested                                                              250.00/hr

            DWT Created portfolio runoff model to incorporate into an operational           2.60         650.00
                model that will show estimated revenue and costs to service               250.00/hr
                remianing portfolio.

            DWT Estimated cost structure of a minimal organization that would be            2.30         575.00
                needed to service remaining portfolio.                                    250.00/hr

   9/1/2006 EMB Place call to committee member to discuss payoff on certain loans.          0.30             88.50
                                                                                          295.00/hr

   9/5/2006 EMB Conference call with Tom Allison, Mesirow and various members of            1.10         324.50
                the UCC to review status of all loans.                                    295.00/hr

            EMB Follow up conversation with counsel on loan status conversation             0.30             88.50
                with Tom Allison.                                                         295.00/hr
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                                                                                        Hrs/Rate         Amount

   9/5/2006 DN   Conference call with Tom Allison regarding loan by loan review of          1.10         275.00
                 portfolio                                                                250.00/hr

           DN    Develop model to forecast loan maturity, service fee revenue, costs        3.80         950.00
                                                                                          250.00/hr

           DWT Updated financial forecast of organization necessary to handle               2.50         625.00
               portflio servicing.                                                        250.00/hr

           EMB Created loan payoff / workout timeline templete for committee per            1.10         324.50
               Mesirow.                                                                   295.00/hr

   9/6/2006 DN   Continue to develop model to forecast loan maturity, service fee           0.60         150.00
                 revenue, costs                                                           250.00/hr

           DN    Discussion with Grand Canyon Title re cost of servicing agent              0.30             75.00
                                                                                          250.00/hr

           DN    Develop model to forecast loan maturity, service fee revenue, costs        0.40         100.00
                                                                                          250.00/hr

           DN    Discussion with Noteworld re cost of servicing agent services              0.30             75.00
                                                                                          250.00/hr

           DN    Discussion with Westloan re cost of servicing agent services               0.20             50.00
                                                                                          250.00/hr

           DN    Discussion with Mesirow Financial re loan repayment forecast               0.30             75.00
                                                                                          250.00/hr

           DN    Discussion with USA Capital re loan repayment forecast                     0.40         100.00
                                                                                          250.00/hr

           DWT Made updates and changes to the financial projections of the USA             2.30         575.00
               organizational model to understadn the costs of a wind down                250.00/hr

           DN    Analyze and modify financial model assumptions.                            0.20             50.00
                                                                                          250.00/hr

   9/7/2006 DN   Discussion with Noteworld re cost of servicing agent services              0.60         150.00
                                                                                          250.00/hr

           EMB Call with creditor to discuss payment issues.                                0.30             88.50
                                                                                          295.00/hr

           DN    Develop model to winddown revenues, costs - adjust for ability to          0.70         175.00
                 switch on/off asset sale scenario                                        250.00/hr

           DN    Discussion with Westloan re cost of servicing agent services               0.60         150.00
                                                                                          250.00/hr
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                                                                                       Hrs/Rate         Amount

   9/7/2006 DN    Develop model to winddown revenues, costs                                1.70         425.00
                                                                                         250.00/hr

            DN    Develop model to winddown revenues, costs - adjust for ability to        2.90         725.00
                  switch on/off asset sale scenario                                      250.00/hr

            DWT Follow up on issues realted to certain members of the UCC.                 0.80         200.00
                                                                                         250.00/hr

            DWT Made updates and changes to the financial projections if the USA           0.70         175.00
                organizational model to understand the costs of a wind down.             250.00/hr

   9/8/2006 DN    Develop model to winddown revenues, costs - adjust to enable             1.00         250.00
                  loan servicing agent scenarios                                         250.00/hr

            DN    Develop model to winddown revenues, costs - adjust to enable             1.40         350.00
                  loan servicing agent scenarios                                         250.00/hr

  9/11/2006 DN    Develop model to winddown revenues, costs - adjust to enable             1.60         400.00
                  loan servicing agent scenarios                                         250.00/hr

            EMB Follow up on diverted principal and pre paid interest offsets per          0.40         118.00
                request of counsel.                                                      295.00/hr

            DWT Updated cash collection summary for the current period                     2.20         550.00
                                                                                         250.00/hr

            DWT Reviewed the financial statements and request list to determine            0.50         125.00
                what information has not yet been provided                               250.00/hr

            EMB Review proposed proof of claim form and instructions.                      0.30             88.50
                                                                                         295.00/hr

            DWT Worked on liquidation analysis and related financial statement             2.60         650.00
                issues related to asset values                                           250.00/hr

            DWT Researched claims from certain investors that asked what their             0.40         100.00
                scheduled amount of claim was                                            250.00/hr

            DWT Made revisions to the expense analysis summary of the various              1.80         450.00
                professional expenses related to the case                                250.00/hr

  9/12/2006 EMB Read and gave comment to counsel on motion to distribute funds.            0.20             59.00
                                                                                         295.00/hr

            DN    Review cash flow actuals report for 9/3, request clarification of        0.60         150.00
                  apparent error                                                         250.00/hr

            EMB Call with counsel to discuss professional fee allocation summary           0.40         118.00
                                                                                         295.00/hr
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                                                                                       Hrs/Rate         Amount

  9/12/2006 DN    Review cash flow actuals report for 9/3, 9/10                            1.50         375.00
                                                                                         250.00/hr

            DN    Review schedule for preparing 7/2006 financial statements with           0.30             75.00
                  Mesirow                                                                250.00/hr

            EMB Call with member of the creditors committee to discuss IP issues           0.40         118.00
                                                                                         295.00/hr

            EMB Review listing of loans guaranteed by H&M.                                 0.20             59.00
                                                                                         295.00/hr

  9/13/2006 DN    Request to Mesirow for additional information re 7/06 financial          0.20             50.00
                  stmts, cash flow reports                                               250.00/hr

            DN    Review cash flow actuals reports for 8/27, 9/3, 9/10                     1.20         300.00
                                                                                         250.00/hr

            DN    Request clarification of apparent errors in cash flow reports            0.20             50.00
                                                                                         250.00/hr

            DN    Prepare summary schedule of default notice letters                       1.50         375.00
                                                                                         250.00/hr

            EMB Follow up on information request from committee member.                    0.20             59.00
                                                                                         295.00/hr

            EMB Provided information on loan collection fees to counsel.                   0.20             59.00
                                                                                         295.00/hr

            EMB Follow up on certain issues as it relates to various professional          1.20         354.00
                fees charged to the USACM estate.                                        295.00/hr

  9/14/2006 EMB Work with counsel on professional fees allocated to USACM and              1.20         354.00
                developed alternative methods.                                           295.00/hr

            DN    Prepare summary schedule of default notice letters                       0.90         225.00
                                                                                         250.00/hr

            DWT Followed up on various issues related to cash collection updates           2.10         525.00
                and loan summary issues                                                  250.00/hr

            EMB Prepared analyses for alternative fee applications to other estates        0.70         206.50
                per request of counsel.                                                  295.00/hr

            EMB Follow up on requests from counsel for calculations to be used in          0.40         118.00
                fee application response.                                                295.00/hr

            EMB Work with counsel in preparing objection to applications and               4.10        1,209.50
                prepared exhibits to be included and proposed amount to be               295.00/hr
                allocated per estate.
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                                                                                    Hrs/Rate         Amount

  9/14/2006 EMB Rewiew of latest summary of professional fees charged to the            0.90         265.50
                USACM estate and worked with counsel on motion.                       295.00/hr

            EMB Repsond to committee members questions on avoidance actions.            0.30             88.50
                                                                                      295.00/hr

  9/15/2006 EMB Respond to questions from counsel on tasks performed by debtors'        0.50         147.50
                counsel.                                                              295.00/hr

  9/18/2006 EMB Review and analysis of weekly cash flow budget to actual in             0.60         177.00
                preperation of weekly committee conference call.                      295.00/hr

            EMB Research loan issue for diverted principal creditor.                    0.30             88.50
                                                                                      295.00/hr

            EMB Read various objections to fee applications as filed by the UST.        0.30             88.50
                                                                                      295.00/hr

            DN    Update and send comparison of cash flow actuals vs. forecast          1.80         450.00
                                                                                      250.00/hr

            DWT Updated expense analysis for Mesirow                                    1.40         350.00
                                                                                      250.00/hr

            DWT Updated expense analysis for Ray Quinney                                1.80         450.00
                                                                                      250.00/hr

            EMB Conversation with Mesirow on service fee holdback calculations          0.60         177.00
                and follow up with counsel.                                           295.00/hr

            DWT Updated expense analysis for S&M                                        1.30         325.00
                                                                                      250.00/hr

            EMB Read and comment on proposed order to distribute funds.                 0.20             59.00
                                                                                      295.00/hr

            EMB Conference call with Mesirow and direct lender committee counsel        0.60         177.00
                to discuss Lerin Hills settlement.                                    295.00/hr

            EMB Analyze the debtor's proposed raise and bonus program and               0.70         206.50
                discussed with Mesirow.                                               295.00/hr

            EMB Drafted e mail to counsel and committee chairman regarding              0.30             88.50
                proposed bonus program.                                               295.00/hr

  9/19/2006 EMB Follow up with counsel on debtor's proposed employee retention          0.40         118.00
                program.                                                              295.00/hr

            EMB Drafted memo to Tom Allison on receiving more frequent data on          0.30             88.50
                loan payments,                                                        295.00/hr
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                                                                                        Hrs/Rate         Amount

  9/19/2006 EMB Conversation with committee member regarding retention bonuses              0.30             88.50
                for USACM employees.                                                      295.00/hr

            DN     Prepare comparison of working cash flow budget and version               1.30         325.00
                   included in Debtor's disclosure statement                              250.00/hr

            DWT Input loan summary detail from new file                                     2.30         575.00
                                                                                          250.00/hr

  9/20/2006 EMB Review default and demand letters sent from debtor.                         0.40         118.00
                                                                                          295.00/hr

            EMB Created proposal for raises and retention bonus program,                    1.20         354.00
                discussed with DTF committee and proposed to debtor.                      295.00/hr

            EMB Update loan master list for Aug actual and default notices.                 0.80         236.00
                                                                                          295.00/hr

  9/21/2006 EMB Coordinate meeting with FTI to review work performed to date on             0.30             88.50
                IP.                                                                       295.00/hr

            DN     Update summary schedule of default notice letters with additional        2.10         525.00
                   info received from Mesirow                                             250.00/hr

            EMB Perform analysis and comparison of non-performing loans and                 0.60         177.00
                loans with default notices sent.                                          295.00/hr

            DWT Updated the loan summary for loan default detail information, most          2.80         700.00
                recent 2 weeks of collection data, interest rate (contract) data per      250.00/hr
                Mesirow file and other additional detail that was needed to update
                the master loan summary

            EMB Conversation with counsel on IP claim and DTF claims.                       0.40         118.00
                                                                                          295.00/hr

            EMB Conversation with debtor to discuss loans anticipated to be paid off        0.40         118.00
                in near future                                                            295.00/hr

            DWT Reviewed default letters that were sent compared to the status of           1.30         325.00
                the loan and the estimated interest that is and should be charged         250.00/hr

  9/22/2006 EMB Prepared analysis of professional fees to be allocated to direct            0.80         236.00
                lenders                                                                   295.00/hr

            DWT Reviewed loan data for payoff information and updated                       1.20         300.00
                performance estimates based on conversations                              250.00/hr

            EMB Review and gave comments to counsel on the proposed order to                0.40         118.00
                distribute funds.                                                         295.00/hr
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                                                                                        Hrs/Rate         Amount

  9/22/2006 DWT Adjusted the loan summary for the SP loans and LSA's to be                  2.70         675.00
                assumed and reflected which in the Master loan file and include a         250.00/hr
                column for the loans to be assumed by SP

            EMB Prepare analysis of loans that have default letters sent and noted          1.10         324.50
                repaid and non-performing loans and sent to counsel and                   295.00/hr
                committee member for review.

            EMB Prepare additional analysis of non-performing loans and monthly             0.50         147.50
                default interest to accrue per request of counsel.                        295.00/hr

  9/24/2006 DN     Prepare summary of information gathered from loan servicing              1.00         250.00
                   agents for distribution to other financial advisors                    250.00/hr

  9/25/2006 EMB Drafted e mail to counsel on loan collection efforts and anticipated        0.40         118.00
                colelctions.                                                              295.00/hr

            EMB Drafted memo to Tom Allison regarding loan collection efforts.              0.50         147.50
                                                                                          295.00/hr

            EMB Conversation with committee member regarding loan collection                0.40         118.00
                issues.                                                                   295.00/hr

            EMB Follow up on default interest being accrued by debtors and how it is        1.60         472.00
                calculated.                                                               295.00/hr

            EMB Correspondence with debtor to follow up on Larrin Hills proposed            0.40         118.00
                payoff.                                                                   295.00/hr

            DWT Researched default interest. Attempted to determine the calculation         2.50         625.00
                methodology for late fee versus default interest and also tried to        250.00/hr
                determine when or if anything was being reported, accrued or
                accumulated anywhere for the default interest.

            EMB Review IP and 10/90 docuents from FTI.                                      0.80         236.00
                                                                                          295.00/hr

            JG     Review initital information for FTDF and USACM claim analysis            0.40         100.00
                                                                                          250.00/hr

  9/26/2006 EMB Review and made comments on Mesirow, RQ&N, S&M response                     0.40         118.00
                to fee application objections.                                            295.00/hr

            DN     Discussion with Westloan re cost of servicing agent services             0.20             50.00
                                                                                          250.00/hr

            EMB Analysis of debtors' professional time entries to be used in support        0.80         236.00
                of argument at hearing on Thursday per request of counsel.                295.00/hr

  9/27/2006 EMB Review of the latest loan collection summary report.                        0.20             59.00
                                                                                          295.00/hr
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                                                                                        Hrs/Rate         Amount

  9/27/2006 EMB Prepared additional exhibits to be used in court tomorrow per               1.20         354.00
                request of counsel.                                                       295.00/hr

            DWT Added Silver Point detail and service fee information for July and          1.80         450.00
                August                                                                    250.00/hr

            DWT Updated collection summary from prior 3 weeks of collection data            1.90         475.00
                per loan.                                                                 250.00/hr

            EMB Created fee allocation analysis based upon RQ&N proposal per                0.70         206.50
                request of counsel.                                                       295.00/hr

            EMB Prepared exhibits to be used at court tomorrow.                             0.20             59.00
                                                                                          295.00/hr

            DN    Discussion with Mesirow re status of financials, MOR, cash flow           0.40         100.00
                  corrections                                                             250.00/hr

            DN    Prepare summary of information gathered from loan servicing               0.60         150.00
                  agents for distribution to other financial advisors                     250.00/hr

            DN    Add contact and other information to summary of information               0.60         150.00
                  gathered from loan servicing agents for distribution to other           250.00/hr
                  financial advisors

            EMB Prepared loan summary exhibit including default interest issues as          2.10         619.50
                well as other exhibits at the request of counsel to be used at            295.00/hr
                hearing on Thursday.

  9/28/2006 DN    Follow-up correspondence to Mesirow re cash flow actuals                  0.30             75.00
                                                                                          250.00/hr

            DN    Update and send comparison of cash flow actuals vs. forecast              0.50         125.00
                                                                                          250.00/hr

            DN    Review revised cash flow actuals vs. budget                               1.10         275.00
                                                                                          250.00/hr

  9/29/2006 DWT Analysis of certain loan fees to be paid off and how amounts were           2.80         700.00
                calculated per Mesirow.                                                   250.00/hr

            DN    Update trended cash flow actuals with revised, corrected info from        1.00         250.00
                  Mesirow                                                                 250.00/hr

            EMB Follow up with Amanda Stevens on recent loan collections.                   0.40         118.00
                                                                                          295.00/hr

            EMB Review and prepared comments on revised proposal on employee                0.80         236.00
                retention and severence bonuses.                                          295.00/hr
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                                                                                          Hrs/Rate         Amount

  9/29/2006 EMB Drafted memo to counsel and committee chair on servicing fees                 0.70         206.50
                and management fees collection issues. Recomended follow up.                295.00/hr

            EMB Drafted follow up e mail to Tom Allison on loan collection issues.            0.40         118.00
                                                                                            295.00/hr

            EMB Review of recent loan collection data from Mesirow.                           0.40         118.00
                                                                                            295.00/hr

  9/30/2006 DN    Continue to update trended cash flow actuals with revised,                  1.10         275.00
                  corrected info from Mesirow                                               250.00/hr

  10/2/2006 DWT Reviewed request list and followed up on items not yet received.              0.60         150.00
                                                                                            250.00/hr

            EMB Review latest loan summary and made notes on loans to be paid                 1.20         354.00
                off in next 3 months in preperation of meeting with T. Allison to           295.00/hr
                discuss same.

            EMB Follow up on issues to be addressed with FTI on IP issues.                    0.40         118.00
                                                                                            295.00/hr

            EMB Read memo and discovery motion from counsel regarding related                 0.30             88.50
                USA entities.                                                               295.00/hr

            EMB Follow up on request from Mesirow regarding committee                         0.30             88.50
                professinal fee projections.                                                295.00/hr

            EMB Analysis of budget to actual cash flow and noted issues. Drafted              0.80         236.00
                memo to counsel regarding cash flow issues to be discussed with             295.00/hr
                committee.

  10/3/2006 EMB Prepared information and detailed questions to be discussed with              0.70         206.50
                T. Allison                                                                  295.00/hr

            EMB Meet with T. Allison regarding loan collections, fees and other               2.20         649.00
                related issues.                                                             295.00/hr

            EMB Drafted notes on meeting with Tom Allison and Mesirow staff and               0.60         177.00
                sent to counsel and committee chair.                                        295.00/hr

            JG    Meet with FTI to discuss collateral issues                                  1.40         350.00
                                                                                            250.00/hr

  10/4/2006 DN    Research budget/actuals variance of DTDF/FTDF mgmt fees                     0.30             75.00
                                                                                            250.00/hr

            DWT Reviewed information received to date to see if it is possible to             1.80         450.00
                extrapolate what the prepaid interest is versus the diverted principal      250.00/hr
                so it can be compared and analyzed for offset purposed with
                various parties
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                                                                                        Hrs/Rate         Amount

  10/4/2006 EMB Review information from FTDF regarding management fees and                  0.40         118.00
                service fees.                                                             295.00/hr

            EMB Drafted work plan for analysis on service and management fees for           1.30         383.50
                the two funds.                                                            295.00/hr

            EMB Review questions and other information from committee member                0.30             88.50
                on Amesberry Point loan matters.                                          295.00/hr

  10/5/2006 EMB Follow up on interim distribution motion per request of committee           0.40         118.00
                member.                                                                   295.00/hr

            JG     Review documents and financial statements and prepare overview           2.70         675.00
                   of questions for FTI                                                   250.00/hr

            DWT Reviewed docket for recent cash flow document filings                       0.40         100.00
                                                                                          250.00/hr

  10/6/2006 EMB Follow up on expense allocation for debtors' professionals per              0.60         177.00
                request of counsel                                                        295.00/hr

            EMB Review declaration of T. Allison and related motion regarding               0.60         177.00
                certain loan modifications. Gave comments to counsel                      295.00/hr

            DWT Included service fee accruals and payments for July and August to           2.20         550.00
                the loan summary master schedule                                          250.00/hr

  10/9/2006 EMB Follow up with T. Allsion and Mesirow on the Tracey Suttles loans           0.60         177.00
                and current status issues.                                                295.00/hr

            EMB Conversation with FTI on IP analysis and DTDF's claims                      0.50         147.50
                                                                                          295.00/hr

            JG     Conversation with FTI regarding Investment Partners.                     0.30             75.00
                                                                                          250.00/hr

            EMB Made revisions to Mesirow fee allocation schedule per request of            0.20             59.00
                counsel.                                                                  295.00/hr

            DN     Research budget/actuals variance of DTDF/FTDF mgmt fees                  1.50         375.00
                                                                                          250.00/hr

            DN     Conversation with J.Reed re variance of DTDF/FTDF mgmt fees              0.60         150.00
                                                                                          250.00/hr

            DWT Reviewed late fee analysis in order to see if there was evidence of         1.30         325.00
                a calculation so we could determine if we are getting proper credit.      250.00/hr

 10/10/2006 EMB Review latest weekly loan collection report and sent to counsel and         0.40         118.00
                committee chair for comments.                                             295.00/hr
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                                                                                       Hrs/Rate         Amount

 10/10/2006 DN    Research budget/actuals variance of DTDF/FTDF mgmt fees                  1.50         375.00
                                                                                         250.00/hr

            DWT Updated loan summary report                                                1.60         400.00
                                                                                         250.00/hr

 10/11/2006 DWT Reviewed Committee Summary Spreadsheet sent by Debtor                      1.90         475.00
                advisors                                                                 250.00/hr

            EMB Drafted e mail to counsel regarding motion to modify loan and              0.50         147.50
                certain forbearances.                                                    295.00/hr

            EMB Review of Aug loan file as received from Mesirow.                          0.30             88.50
                                                                                         295.00/hr

 10/12/2006 DWT Reviewed Committee Summary Spreadsheet sent by Debtor                      1.80         450.00
                advisors                                                                 250.00/hr

            EMB Work on current loan detail and sent to committee member                   0.40         118.00
                                                                                         295.00/hr

 10/13/2006 EMB Drafted work plan on issues to be addressed                                0.30             88.50
                                                                                         295.00/hr

            EMB Review correspondence with counsel between committee member                0.20             59.00
                and UST.                                                                 295.00/hr

            EMB Sent correspondence to Mesirow on issues regarding latest loan             0.50         147.50
                file received and coordinated meeting with FA's and Mesirow.             295.00/hr

 10/16/2006 DN    Conversation with Gary (loan servicing agent Westar)                     0.40         100.00
                                                                                         250.00/hr

            EMB Conversation with counsel on DTDF claim issue and IP claims.               0.30             88.50
                                                                                         295.00/hr

            JG    Prepare for and meet with FTI to discuss figures in questions            2.80         700.00
                  paricularly IP collateral.                                             250.00/hr

            DN    Summarize mgmt fees A/P for FTDF, DTDF                                   1.80         450.00
                                                                                         250.00/hr

            DWT Updated cash collection data including information regarding recent        2.80         700.00
                loan collection efforts                                                  250.00/hr

            DN    Review loan servicing agent RFI                                          0.60         150.00
                                                                                         250.00/hr

            DN    Search PACER, BMC sites for updated financial info                       0.90         225.00
                                                                                         250.00/hr
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                                                                                          Hrs/Rate         Amount

 10/16/2006 DN     Request for assistance providing info to loan servicing agencies to        0.50         125.00
                   Mesirow                                                                  250.00/hr

            DN     Send request for updated financial info to Mesirow                         0.20             50.00
                                                                                            250.00/hr

            EMB Modified liquidation analysis with expense estimate updates and               0.80         236.00
                other changes and sent to counsel                                           295.00/hr

            DWT Reviewed current sale structure and potential return to various               0.70         175.00
                parties including admin payments.                                           250.00/hr

            EMB Conference call with Mesirow to review loan file.                             0.80         236.00
                                                                                            295.00/hr

            DN     Send request for add'l info re FTDF, DTDF management fees                  0.40         100.00
                                                                                            250.00/hr

            EMB Meeting with FTI to review DTDF claim against USACM for IP                    0.40         118.00
                assets and collateral issues.                                               295.00/hr

 10/17/2006 EMB Conversations with FTI to discuss IP issues and new documents.                0.30             88.50
                                                                                            295.00/hr

 10/18/2006 EMB Follow up with Mesirow on recent loan collection activity and                 0.40         118.00
                interest calculations.                                                      295.00/hr

            EMB Review summary and analysis of management fees to DTDF and                    1.20         354.00
                FTDF and noted payments made and accrued. Drafted memo to                   295.00/hr
                counsel and committee chair regarding issues.

            JG     Review documents regarding Diversified's equity position                   1.20         300.00
                                                                                            250.00/hr

            EMB Follow up with Don Walker on loan collection issues.                          0.30             88.50
                                                                                            295.00/hr

 10/19/2006 EMB Review latest loan summary file in preparation of meeting with                0.50         147.50
                Mesirow.                                                                    295.00/hr

            EMB Meeting with Mesirow to review recent collection efforts and fee              2.10         619.50
                calculations.                                                               295.00/hr

            EMB Review e mail from Susan Smith and respond back on pre paid                   0.30             88.50
                interest collections since the filing.                                      295.00/hr

            EMB Conversation with Don Walker on loan collection efforts and other             0.40         118.00
                matters.                                                                    295.00/hr

            EMB Follow up on Marquis Hotel issue for creditor committee member.               0.20             59.00
                                                                                            295.00/hr
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                                                                                      Hrs/Rate         Amount

 10/19/2006 DWT Prepared fee analysis spreadsheet to update with most recent              1.60         400.00
                monthly invoices.                                                       250.00/hr

            EMB Analysis and review of DTDF fund activity report and other                0.70         206.50
                documents received from FTI                                             295.00/hr

 10/20/2006 EMB Responded to creditor committee question on proof of claim.               0.10             29.50
                                                                                        295.00/hr

            EMB Conversation with committee member regarding claims                       0.20             59.00
                                                                                        295.00/hr

            EMB Meet with FTI to discuss DTDF claim issues in USACM as well as            1.60         472.00
                other plan issues.                                                      295.00/hr

            DWT Reviewed docket and other filed information to update cash flow           1.40         350.00
                analysis.                                                               250.00/hr

            EMB Drafted memo to counsel to discuss anticiapted loan payoffs and           0.90         265.50
                other issues from meeting with Mesirow.                                 295.00/hr

            EMB Follow up with Mesirow on weekly loan collection reports per the          0.20             59.00
                request of the committee chairperson.                                   295.00/hr

            JG    Analysis of documents and cash tracing as received from FTI.            1.50         375.00
                                                                                        250.00/hr

 10/23/2006 EMB Follow up with counsel on Palm Harbor and related loans motion.           0.20             59.00
                                                                                        295.00/hr

            DWT Updated cash collection on a loan by loan basis for the weekly            2.70         675.00
                summary schedule for the past 4 weeks of data.                          250.00/hr

            EMB Analysis of loans to be paid off by Jan 07 and compared to SP's           1.20         354.00
                exhibit list. Noted reduction in purchase price and proceeds to be      295.00/hr
                paid to USACM.

            DWT Analyzed the cash collected by loan and compared to the various           1.40         350.00
                other reporting methods including the monthly operating report and      250.00/hr
                loan summary submissions.

            DN    Review/renew requests for financial info to Mesirow                     0.90         225.00
                                                                                        250.00/hr

            EMB Review UCC and other filing documents as received from counsel.           0.20             59.00
                                                                                        295.00/hr

            EMB Drafted information requests to Mesirow for cash flow projections         0.30             88.50
                and actual cash flow data.                                              295.00/hr
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                                                                                      Hrs/Rate         Amount

 10/24/2006 DWT Began updating loan summary activity for the prior periods                1.20         300.00
                                                                                        250.00/hr

            EMB Work with Mesirow to understand and reconcile the DTDF account            0.60         177.00
                balance.                                                                295.00/hr

            EMB Conversation with counsel on various payout scenarios with DTDF.          0.30             88.50
                                                                                        295.00/hr

            EMB Review cash collections for the first two weeks of Oct.                   0.20             59.00
                                                                                        295.00/hr

            EMB Analyze the latest cash flow forecast from the Mesirow and drafted        0.90         265.50
                comments to counsel and committee members.                              295.00/hr

            EMB Drafted cash flow projection questions to Mesirow.                        0.30             88.50
                                                                                        295.00/hr

            DN     Conversations with various loan servicing agents re case status        0.60         150.00
                                                                                        250.00/hr

 10/25/2006 EMB Meeting with FTI regarding IP claims, DTDF / USACM issues and             2.20         649.00
                collateral assignments.                                                 295.00/hr

            EMB Drafted memo on recent finding on DTDF net equity issues per              0.70         206.50
                request of counsel.                                                     295.00/hr

            DWT Input loan summary detail for September                                   3.00         750.00
                                                                                        250.00/hr

            DWT QC'd the current data back to prior months activity                       1.70         425.00
                                                                                        250.00/hr

            EMB Perform analysis on Oak Shores payoff statement, verified default         0.90         265.50
                interest calculation and sent e mail to counsel regarding issues.       295.00/hr

            EMB Perform analysis on DTDF assets and potential claim in USACM.             1.30         383.50
                                                                                        295.00/hr

            EMB Conversation with FTI regarding DTDF claim in USACM.                      0.40         118.00
                                                                                        295.00/hr

            EMB Follow up on additional cash flow issues with Mesirow on latest           0.20             59.00
                forecast.                                                               295.00/hr

 10/26/2006 DWT Input remaining data for recent cash collections and loan summary         2.20         550.00
                detail                                                                  250.00/hr

            EMB Drafted memo to Mesirow on the DTDF equity analysis to confirm            0.30             88.50
                methodolgy.                                                             295.00/hr
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                                                                                         Hrs/Rate         Amount

 10/26/2006 EMB Drafted memo to counsel and committe chair on colalteral pledge              1.20         354.00
                issues and how that inpcats DTDF's potential claim in the USACM            295.00/hr
                estate.

            JG     Analysis of documents recieved from FTI.                                  0.20             50.00
                                                                                           250.00/hr

            EMB Reviewed latest loan summary report as recieved from Mesirow                 0.70         206.50
                and forwarded to committee members for review.                             295.00/hr

            DN     Correspondence w/Mesirow re status of multiple pending items              0.70         175.00
                                                                                           250.00/hr

 10/27/2006 EMB Review latest summary of monthly operating report and forwarded              0.50         147.50
                to cousel and committee.                                                   295.00/hr

            EMB Conversation with committee member regarding cash flow forcast.              1.60         472.00
                                                                                           295.00/hr

            EMB Draft memo to DTDF counsel regarding their potential claim in                0.60         177.00
                USACM.                                                                     295.00/hr

 10/30/2006 EMB Analysis of the detail and FTI's grouping for the IP note to USACM           1.20         354.00
                and drafted e mail to Mesirow to confirm FTI's analysis.                   295.00/hr

            EMB Read various documents relating to the Investment Partners                   0.20             59.00
                collateral pledge.                                                         295.00/hr

            EMB Perform analysis on DTDF equity value to be used as a basis for              0.90         265.50
                claim in USACM estate.                                                     295.00/hr

            EMB Follow up on IP note detail for committee chairman.                          0.20             59.00
                                                                                           295.00/hr

            EMB Analysis and review of FTI's memo and supporting documentation               1.10         324.50
                as potential claim agaisnt USACM.                                          295.00/hr

            DN     Update/populate cash flow reporting template with forecast through        1.90         475.00
                   2/4/2007                                                                250.00/hr

            DN     Update with loan servicing agent                                          0.30             75.00
                                                                                           250.00/hr

            EMB Research various transaction in the USACM note from IP and                   0.70         206.50
                repsonded to counsel.                                                      295.00/hr

            EMB Analysis of MFIM August invoice and gave comments to counsel.                0.60         177.00
                                                                                           295.00/hr

            DWT Reviewed Investment Partner issues                                           0.30             75.00
                                                                                           250.00/hr
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                                                                                        Hrs/Rate         Amount

 10/30/2006 EMB Drafted memo to counsel regarding operating activity and attached           0.40         118.00
                summary of operating reports                                              295.00/hr

            EMB Conversation with FTI to discuss the IP $58mm note detail                   0.40         118.00
                                                                                          295.00/hr

 10/31/2006 EMB Call with FTI to discuss claim issues.                                      0.50         147.50
                                                                                          295.00/hr

            EMB Follow up with Susan Smith on various accounting issues.                    0.90         265.50
                                                                                          295.00/hr

            EMB Continue to analyze DTDF potential claim in USACM including                 1.10         324.50
                accrued interest issue.                                                   295.00/hr

            EMB Conversation with counsel regarding DTDF claim issues.                      0.30             88.50
                                                                                          295.00/hr

            JG     Continue review of information received from FTI on IP.                  0.20             50.00
                                                                                          250.00/hr

            DN     Update with loan servicing agent                                         0.20             50.00
                                                                                          250.00/hr

  11/1/2006 DWT Follow up with various issues related to the investment partners            0.90         225.00
                loan                                                                      250.00/hr

            EMB Meeting with Mesirow to discuss loan collection and default interest        1.60         472.00
                issues.                                                                   295.00/hr

  11/2/2006 JG     Research accounting standards related to interest accrual on             1.30         325.00
                   delinquent loans                                                       250.00/hr

            DWT Created an interest receivable calculation for the $58mm IP loan            2.90         725.00
                receivable.                                                               250.00/hr

            DN     Correspondence with loan servicing agency (TX)                           0.20             50.00
                                                                                          250.00/hr

  11/3/2006 DN     Correspondence with loan servicing agency (NM)                           0.20             50.00
                                                                                          250.00/hr

            JG     Read through FASBs related to proper methods of interest accrual         1.90         475.00
                   and delinquent loans                                                   250.00/hr

            EMB Research FAS on accounting for accrued interest.                            0.20             59.00
                                                                                          295.00/hr

            EMB Responded to inquiries from committee member.                               0.40         118.00
                                                                                          295.00/hr
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                                                                                       Hrs/Rate         Amount

  11/3/2006 EMB Review and analysis of September loan file and data.                       1.10         324.50
                                                                                         295.00/hr

  11/6/2006 EMB Follow up with issues for committee chairperson.                           0.30             88.50
                                                                                         295.00/hr

            EMB Conversation with Mesirow to disucss USACM AR from IP and                  0.60         177.00
                diverted principal issues.                                               295.00/hr

            EMB Follow up on USACM opening cash balance in latest forecast per             0.20             59.00
                Debtor.                                                                  295.00/hr

            DWT Prepared a summary of charges by firm by task.                             1.00         250.00
                                                                                         250.00/hr

            EMB Review interest calcualtion analysis on $58mm IP note.                     0.20             59.00
                                                                                         295.00/hr

            DWT Continued to prepare analyis of interest receivable calculation for        2.40         600.00
                the $58mm IP loan receivable.                                            250.00/hr

  11/7/2006 EMB Follow up on committee member request                                      0.30             88.50
                                                                                         295.00/hr

            EMB Research collections to date data for committee chairman..                 0.20             59.00
                                                                                         295.00/hr

            DWT Prepared summary of billing for some of the professionals                  2.10         525.00
                                                                                         250.00/hr

  11/8/2006 EMB Review summary of Debtor's professional fees to date and                   1.60         472.00
                modified per request of counsel.                                         295.00/hr

  11/9/2006 EMB Reviewed and replied to various emails regarding plan and DS.              0.30             88.50
                                                                                         295.00/hr

            EMB Review various IP related documents in preparation of JM                   1.10         324.50
                deposition.                                                              295.00/hr

            EMB Update fee analysis with additional invoices as received from              0.50         147.50
                counsel.                                                                 295.00/hr

            DWT Reviewed previous analysis that estimated a runoff scenario for the        1.10         275.00
                remaining estate during a wind down and made minor revisions.            250.00/hr

            EMB Review SM response to fee application and noted issues to be               0.30             88.50
                include in fee summary.                                                  295.00/hr

 11/10/2006 DWT Reviewed open items from request list, follow up with Mesirow and          1.20         300.00
                accumulated new follow up list                                           250.00/hr
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                                                                                      Hrs/Rate         Amount

 11/10/2006 EMB Answered questions regarding proof of claims from two creditors.          0.40         118.00
                                                                                        295.00/hr

            EMB Follow up on Meadow Creek payoff.                                         0.30             88.50
                                                                                        295.00/hr

            EMB Updated fee summary analysis with additional invoices per request         0.50         147.50
                of counsel.                                                             295.00/hr

 11/13/2006 DN     Phone call with loan servicing agency (TX)                             0.30             75.00
                                                                                        250.00/hr

            EMB Conversation with committee member about plan and disclsoure              0.60         177.00
                statement issues.                                                       295.00/hr

            EMB Research and updates USACM fee and interest schedule per                  0.50         147.50
                request of committee chair.                                             295.00/hr

            EMB Analyze latest summary of accrued and unpaid pre paid interest            0.40         118.00
                per Mesirow.                                                            295.00/hr

            EMB Researched addtional fee application information per request of           1.30         383.50
                counsel to prepare objections.                                          295.00/hr

 11/14/2006 DWT Reviewed docket to save most recent filings related to creditor           1.30         325.00
                committee and prepared summary schedule.                                250.00/hr

            EMB Responded to various questions from committee chairperson.                0.30             88.50
                                                                                        295.00/hr

            DWT Prepared summary of runoff scenario template for the forecast of          0.90         225.00
                organizational expenses necessary to administer liquidating estate      250.00/hr

 11/15/2006 DWT Prepared summary of runoff scenario template for the forecast of          0.80         200.00
                organizational expenses necessary to administer liquidating estate      250.00/hr

            EMB Research how creditor was scheduled per request of counsel.               0.30             88.50
                                                                                        295.00/hr

            DWT Updated the loan summary file in preparation for release of recent        1.40         350.00
                moth data                                                               250.00/hr

            EMB Analysis of Susan Smith's latest analysis of pre-petition service         0.90         265.50
                fees and follow up on issues.                                           295.00/hr

 11/16/2006 EMB Researched information on scehduled assets for committee                  0.30             88.50
                chairperson.                                                            295.00/hr

            EMB Research Lerin Hills loan issues, drafted memo and sent to                0.80         236.00
                counsel for review.                                                     295.00/hr
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                                                                                      Hrs/Rate         Amount

 11/16/2006 DWT Reviewed docket for items related to USACM                                1.10         275.00
                                                                                        250.00/hr

 11/17/2006 DN    Request strategy, direction re potential use of loan servicing          0.40         100.00
                  agencies from Mesirow                                                 250.00/hr

            DN    Correspondence with loan servicing agency (TX)                          0.20             50.00
                                                                                        250.00/hr

            DN    Correspondence with loan servicing agency (NM)                          0.20             50.00
                                                                                        250.00/hr

            DN    Review cash flow actuals provided by Mesirow, populate report           1.60         400.00
                  templates                                                             250.00/hr

            EMB Analysis of latest weekly cash collection reports from Mesiorw and        0.60         177.00
                repsponded to committee chairperson's question on collections.          295.00/hr

            EMB Conversation with FTI to disucss Epic Resort issues per request of        0.40         118.00
                counsel.                                                                295.00/hr

 11/20/2006 EMB Read and comment on USACM draft complaint against insiders.               0.70         206.50
                                                                                        295.00/hr

            DWT Updated master loan file with monthly collection data                     2.50         625.00
                                                                                        250.00/hr

            EMB Follow up with Mesirow on recent loan collections and discussed           0.60         177.00
                actual vs. projected collections.                                       295.00/hr

            EMB Analysis of Oct. 31 master loan file and noted payments, accrued          1.20         354.00
                fees and other assets.                                                  295.00/hr

 11/21/2006 EMB Read loan payoff letter / agreement on certain loans and compared         0.80         236.00
                to accrued fees and interest per Mesirow.                               295.00/hr

            EMB Follow up on sepecific questions from commitee member on plan             0.30             88.50
                and related USACM issues.                                               295.00/hr

            DWT Updated loan performance summary.                                         1.20         300.00
                                                                                        250.00/hr

            DN    Request missing cash flow actuals from Mesirow                          0.20             50.00
                                                                                        250.00/hr

            DWT Updated various loan summarry analyese with current cash                  1.60         400.00
                collections.                                                            250.00/hr

            EMB Conversation with committee member and answered questions to              0.30             88.50
                plan and balloting.                                                     295.00/hr
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                                                                                     Hrs/Rate         Amount

 11/22/2006 EMB Follow up on request from committee member regarding sale                0.20             59.00
                proceedures.                                                           295.00/hr

            DN    Relay status, direction of interim mgmt team to loan servicing         0.20             50.00
                  agencies                                                             250.00/hr

            EMB Respond to counsel on debtor's comments on Halesy Canyon                 0.30             88.50
                settlement issues and disclosure to USACM committee.                   295.00/hr

            EMB Conversation with Mark Olson regarding Halsey Canyon and                 0.30             88.50
                settlement.                                                            295.00/hr

            EMB Follow up with counsel and FTI on current claims field with USACM        0.50         147.50
                to date and noted issues with schedule received.                       295.00/hr

 11/27/2006 DWT Updated loan performance summary with current information from           1.80         450.00
                loan monitoring report.                                                250.00/hr

            DN    Repeat request for Sept 06 cash flow actuals to Mesirow                0.20             50.00
                                                                                       250.00/hr

 11/28/2006 EMB Conversation with committee member to discuss loan collection            0.20             59.00
                issues.                                                                295.00/hr

            EMB Conversation with Mesirow to discuss transition issues between           0.60         177.00
                debtor and trust.                                                      295.00/hr

            EMB Read minutes of today's court hearing.                                   0.20             59.00
                                                                                       295.00/hr

 11/29/2006 EMB Conversation with Tom Allison and other Mesirow people to                1.20         354.00
                disucss upcoming loan collections and overbid issues.                  295.00/hr

            EMB Analysis and review of Oct Committee Report as recived from              0.70         206.50
                Mesirow for distribution to be made to lenders.                        295.00/hr

            EMB Updated fee sumamry schedule with Oct fee applications as                1.10         324.50
                recieved from counsel.                                                 295.00/hr

            EMB Conversation with committee chair to discuss loan payoff                 1.00         295.00
                suggestions and trustee issues.                                        295.00/hr

            EMB Conversation with counsel to disucss loan payoff proposals and           0.60         177.00
                suggested course of action,                                            295.00/hr

            EMB Review of Memo of Agreement between HFA and USACM per                    0.20             59.00
                Mesirow                                                                295.00/hr

            EMB Analysis of Colt, Marquis and Placard payoff calculation per             0.30             88.50
                Mesirow.                                                               295.00/hr
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                                                                                      Hrs/Rate         Amount

 11/29/2006 EMB Request cash balance information from Mesirow per committee               0.20             59.00
                chairman's request.                                                     295.00/hr

 11/30/2006 DWT Made revisions to various loan collection summary analyses                1.00         250.00
                                                                                        250.00/hr

            EMB Preapred memo to counsel on three loans to be paid off in near            1.20         354.00
                future and discussed potential issues.                                  295.00/hr

            EMB Responded to request from committee member for Oct loan                   0.20             59.00
                information.                                                            295.00/hr

            EMB Modified total professional fee summary and send to counsel and           0.30             88.50
                committee chairman for review.                                          295.00/hr

            EMB Preapred memo and outline on settlement ideas for conference set          2.40         708.00
                with DTDF.                                                              295.00/hr

            EMB Conversation with counsel to discuss DTDF issues and settlement           0.30             88.50
                offer.                                                                  295.00/hr

  12/1/2006 EMB Modified MOR sumamry and sent to counsel for review and                   0.30             88.50
                distribution to committee.                                              295.00/hr

            EMB Analyssis of loan servicing fees summary as received from                 0.20             59.00
                Mesirow per request of committee chair.                                 295.00/hr

            EMB Responded to questions to from unsecured creditor on collection           0.20             59.00
                issues.                                                                 295.00/hr

  12/2/2006 EMB Prepare analysis and summary of the alleged claims DTDF has in            1.60         472.00
                the Oak Valley project.                                                 295.00/hr

            EMB Prepared memo to Mesirow and FTI on Oak Mesa questions and                0.40         118.00
                request for additional documentation                                    295.00/hr

            EMB Reviewed and responded to multiple e mails form committee                 0.60         177.00
                members on settlement issues with DTDF and plan issues.                 295.00/hr

  12/4/2006 EMB Drafted memo to counsel and committee chairman with supporting            0.80         236.00
                documents on Oak Meas issues.                                           295.00/hr

            EMB Drafted memo to committee members regarding certian proposed              0.60         177.00
                loan payoffs amounts and impact on unsecured creditors to be            295.00/hr
                discussed on next committee call.

            EMB Read e mail from counsel responding to creditor committee                 0.20             59.00
                questions and LV paper article on Marquis and impact on creditors.      295.00/hr

            EMB Work with Mesirow on Oak Mesa accounting issues for capital               1.30         383.50
                contributions.                                                          295.00/hr
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                                                                                       Hrs/Rate         Amount

  12/4/2006 EMB Review and comment on retention letter to retain attorneys in TX           0.10             29.50
                for certain foreclosures.                                                295.00/hr

            EMB Conversation with FTI regarding Oak Mesa project and capital               0.40         118.00
                contribution.                                                            295.00/hr

            EMB Follow up with committee chairman on question of increase in               0.10             29.50
                assets per the latest MOR.                                               295.00/hr

  12/5/2006 EMB Read opposition to motion from approval of proceedures regarding           0.30             88.50
                assignment of loan interest.                                             295.00/hr

            EMB Communicate with Mesirow to gain access to accounting records              0.30             88.50
                and other files.                                                         295.00/hr

  12/6/2006 EMB Conversation with Susan Smith to discuss accounting issues for             0.40         118.00
                DTDF settlement issues and production of other accounting                295.00/hr
                information.

            EMB Review professional fee schedule prepared by Mesirow as                    0.10             29.50
                received from counsel.                                                   295.00/hr

            EMB Conversation with FTI on Marquis and Oak Valley cash flow tracing          0.20             59.00
                issues.                                                                  295.00/hr

            EMB Analysis of wire transfers out of DTDF account to HMA to confirm           0.80         236.00
                Royal Hotel payments.                                                    295.00/hr

            JG    Coordinate and arrange meeting with USA Capital employees to             0.10             25.00
                  review accounting process and realted issues.                          250.00/hr

  12/7/2006 DWT Reviewed DTDF proposal to understand various recovery scenarios            1.40         350.00
                                                                                         250.00/hr

  12/8/2006 JG    Further follow up to prepare for Monday's meeting with USA               0.60         150.00
                  Capital employees.                                                     250.00/hr

            DWT Discussion with FTI and reviewed current data for negotiations             0.90         225.00
                                                                                         250.00/hr

            DWT Prepared information related to upcoming DTDF settlement hearing           1.30         325.00
                                                                                         250.00/hr

 12/11/2006 EMB Meet with Susan Smith to discuss accounting for prepaid interest           1.60         472.00
                and evidence needed for preference argument.                             295.00/hr

            JG    Site visit and meetings with Susan Smith, Leann W, and Fasil (IT)        5.90        1,475.00
                  at USA; discussions of operations, organizational chart, computer      250.00/hr
                  access/passwords, accounting system access; review of general
                  ledger.
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                                                                                           Hrs/Rate         Amount

 12/11/2006 DWT Continue meeting with USA staff to discuss issues including data               1.40         350.00
                integrity issues, records retention, organization structure, accessing       250.00/hr
                accounting records, etc.

             DWT Discussed various issues with USA staff including data integrity              1.90         475.00
                 issues, records retention, organization structure, accessing                250.00/hr
                 accounting records, etc.

             DWT Discussed various issues with USA Capital staff including data                1.70         425.00
                 integrity issues, records retention, organization structure, accessing      250.00/hr
                 accounting records, etc.

             DWT Discussions with various issues with USA staff including data                 1.60         400.00
                 integrity issues, records retention, organization structure, accessing      250.00/hr
                 accounting records, etc.

 12/12/2006 EMB Analysis of USA Realty coporate records and had copies made for                1.20         354.00
                counsel.                                                                     295.00/hr

 12/13/2006 DWT Downloaded financial infomation from docket for recent filings and             0.80         200.00
                analysis of filings for reference.                                           250.00/hr

 12/14/2006 DWT Reviewed Realty Advisor general ledgers                                        1.20         300.00
                                                                                             250.00/hr

             EMB Request detailed general ledger information on USA Securities                 0.40         118.00
                 from Mesirow and follow up with e mails.                                    295.00/hr

             EMB Analysis of the USA Realty general ledgers for 2004, 2005 and                 1.40         413.00
                 2006 noting payments made to USACM and other related party                  295.00/hr
                 trasnactions.

 12/15/2006 EMB Analysis of November loan payoff and proposed distribution                     0.90         265.50
                amounts per Mesirow. Sent to counsel and committee members                   295.00/hr
                for comments.

 12/18/2006 DWT Addressed current plan issues and related creditor analysis per                1.60         400.00
                request from counsel.                                                        250.00/hr

             EMB Review Nov. proposed distribution to lenders and responded to                 0.30             88.50
                 Mesirow.                                                                    295.00/hr

             EMB Analysis of recent loan payoffs and realted fees and sent e mail to           0.30             88.50
                 debtor regarding this matter as it impacts purchase price                   295.00/hr
                 adujstments.

 12/19/2006 DWT Reviewed current loan summary to address individual loan status.               1.20         300.00
                                                                                             250.00/hr

 12/21/2006 EMB Follow up on motion to hire accounting firm for USACM per request              0.50         147.50
                of debtor's counsel.                                                         295.00/hr
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                                                                                       Hrs/Rate         Amount

 12/21/2006 EMB Updated USACM professional fee schedule for latest filed monthly           0.30             88.50
                fee statements.                                                          295.00/hr

             EMB Work with Mesirow, USACM trustee and Compass Partners on                  0.30             88.50
                 transition issues. Sent e mail to set up call to discuss.               295.00/hr

             EMB Work on transition issues with trustee and Compass.                       0.70         206.50
                                                                                         295.00/hr

             EMB Responded to committee member inquiry into the Marquis sale and           0.30             88.50
                 USAIP involuntary filing.                                               295.00/hr

             EMB Conference call with Mesirow, proposed USACM trustee and USA              0.80         236.00
                 Capital employees to discuss transition issues.                         295.00/hr

 12/22/2006 EMB Review Mesirow's analysis of pre-paid interest and diverted                0.50         147.50
                principal offsets through Oct. and commented on underlying               295.00/hr
                assumptions.

             EMB Review and comment on proposed stipulation on modification to             0.30             88.50
                 interim fee order.                                                      295.00/hr

 12/26/2006 EMB Review latest UST objection to Sierra monthly invoice and follow up        0.30             88.50
                with counsel.                                                            295.00/hr

             EMB Research Palm Harbor loan issues for trustee and counsel.                 0.60         177.00
                                                                                         295.00/hr

             EMB Follow up with Mesirow on Colt / PV / Marquis loans and servicing         0.30             88.50
                 issues.                                                                 295.00/hr

 12/27/2006 EMB Updated professional fee summary with latest Nov. monthly                  0.40         118.00
                statements as received from counsel.                                     295.00/hr

             EMB Begin review and analysis of Del Buch documents per request of            0.40         118.00
                 counsel.                                                                295.00/hr

 12/28/2006 EMB Drafted letter to the UST in response to the objection to Sierra's         0.90         265.50
                October monthly fee statement.                                           295.00/hr

             EMB Drafted memo to Mesirow requesting loan details including why             0.60         177.00
                 each one is not performing and follow up on other outstanding           295.00/hr
                 information requests.

             EMB Follow up with Mesirow on Colt, PV, and Marquis loans and set up          0.60         177.00
                 meting to discuss next week.                                            295.00/hr

             EMB Updated professional fee summary with addtional Nov. monthly fee          0.20             59.00
                 statements as received from counsel.                                    295.00/hr
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                                                                                           Hrs/Rate         Amount

 12/28/2006 EMB Read and review proposed protective order for USACM / IP                       0.20             59.00
                documents.                                                                   295.00/hr

 12/30/2006 EMB Drafted e mail to counsel on retnetion of accountants issues for               0.40         118.00
                2006 tax returns as proposed by the Debtor.                                  295.00/hr

   1/2/2007 JG     Review USA Realty infomration and preliminary work plan to be               1.10         275.00
                   completed on Realty.                                                      250.00/hr

            EMB Review of BMC's Nov. invoice as received from counsel and gave                 0.40         118.00
                suggestions on allocatiosn to other estates.                                 295.00/hr

            EMB Read and analyze 2004 examination of Del Bunch and related                     2.70         796.50
                exhibits per request of counsel.                                             295.00/hr

            EMB Drafted work plan to address issues regarding tasks and analyses               0.80         236.00
                that have been requeted to be completed per counsel and                      295.00/hr
                committee and developed work plan.

            EMB Follow up with counsel on transition issues including computers                0.40         118.00
                and data access issues.                                                      295.00/hr

            EMB Conversation with committee member regarding plan and claims.                  0.40         118.00
                                                                                             295.00/hr

            EMB Follow up with Mesirow on BMC expense allocation per request of                0.30             88.50
                proposed trustee.                                                            295.00/hr

            DWT Read and reviewed the deposition and proof of claim summary                    1.30         325.00
                information regarding Del Bunch                                              250.00/hr

            EMB Review latest version of stipulation with accounting firm for tax work.        0.10             29.50
                                                                                             295.00/hr

   1/3/2007 EMB Responded to e mails from Mesirow regarding transition issues and              0.40         118.00
                meeting with Tom                                                             295.00/hr

            DWT Created 5 year loan history summary on a daily basis for Del Bunch             2.60         650.00
                                                                                             250.00/hr

   1/4/2007 EMB Participated in meeting with Mesirow, FTI, trustee and Don Walker              2.90         855.50
                to discuss loan collection issues and other issues impacting GUC             295.00/hr
                recovery.

            EMB Review proposed loan payoff information on Colt and discussed                  1.20         354.00
                with Tom Allison.                                                            295.00/hr

            EMB Meeting with Mesirow to discuss transition issues.                             2.80         826.00
                                                                                             295.00/hr
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                                                                                          Hrs/Rate         Amount

   1/4/2007 EMB Perform analysis on Standard Property proposed settlement and                 1.10         324.50
                communicated with counsel.                                                  295.00/hr

            EMB Meet with FTI to discuss access to information after trust takes over.        0.60         177.00
                                                                                            295.00/hr

   1/5/2007 EMB Drafted e mail to cousnel to out line Standard Property and other             0.40         118.00
                loan issues.                                                                295.00/hr

            EMB Perform addtional research on Colt / PV / Marquis loans a drafted             1.30         383.50
                memo to committee on issues.                                                295.00/hr

            EMB Placed call to Compass Partners to discuss transition issues.                 1.10         324.50
                                                                                            295.00/hr

            EMB Conversation with Mike Yoder regarding IT issues in the transition            0.40         118.00
                persiod.                                                                    295.00/hr

            EMB Conversation with Chuck H. regarding plan isuses.                             0.60         177.00
                                                                                            295.00/hr

            DWT Adjusted DB loan history summary                                              0.70         175.00
                                                                                            250.00/hr

            DWT Reviewed financial statements to determine insider receivables                1.20         300.00
                                                                                            250.00/hr

            EMB Drafted memo to commitee on Compass transitional issues.                      0.60         177.00
                                                                                            295.00/hr

            EMB E mails with additional memeber of the UCC to discuss space                   0.40         118.00
                plans and trust issues.                                                     295.00/hr

            EMB Analysis of recent loan payoff statements and compared to APA                 1.40         413.00
                and loan detail.                                                            295.00/hr

   1/8/2007 EMB Drafted memo to Mesirow regarding loan payoff statements and                  0.80         236.00
                ensuring that they include all fees and interest in the APA                 295.00/hr
                schedules.

            EMB Follow up with S. Smith on IT hardware listing and remote access              0.20             59.00
                to GL.                                                                      295.00/hr

            DWT Reviewed the computer inventory, reviewed notes and accounts                  1.60         400.00
                receivable and prepared a summary shcedule of insider receivables           250.00/hr

            EMB Analysis of the Southern California / Dayco loan issues and                   0.40         118.00
                responded to counsel.                                                       295.00/hr

            EMB Research issues on Standard Properties per request of S. Nouna.               0.20             59.00
                                                                                            295.00/hr
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                                                                                     Hrs/Rate         Amount

   1/8/2007 EMB Analysis of loan payoff schedules as received from debtor, noted         2.20         649.00
                fees and impact on purchase price reduction and drafted memo to        295.00/hr
                counsel.

   1/9/2007 EMB Continue analysis of Elizabeth May and La Hacienda loans and             1.40         413.00
                communicated with Mesirow on follow up.                                295.00/hr

            DWT Updated various loan anc cash collection schedules from data             2.30         575.00
                received from Mesirow.                                                 250.00/hr

            EMB Follow up on IT support contact for Susan Smith.                         0.20             59.00
                                                                                       295.00/hr

            EMB Analysis of all computer and network equipment at USA and began          0.90         265.50
                process of determining what the trust will need.                       295.00/hr

            EMB Follow up with committee member on space needs and costs for             0.20             59.00
                trust to operate.                                                      295.00/hr

            EMB Follow up with T. Allison on Standard Property loan and                  0.30             88.50
                communicate to Rob Charles.                                            295.00/hr

            EMB Analysis of payments made to and from Del Bunch to USACM per             0.60         177.00
                request of counsel.                                                    295.00/hr

  1/10/2007 EMB Review of draft protective order on USACM / IP documents and             0.30             88.50
                follow up e mails.                                                     295.00/hr

            EMB Analysis of the November loan summary as received from Mesirow           0.90         265.50
                and distributed to committee for further review.                       295.00/hr

            EMB Follow up with counsel on direct lender claim objection issues as        0.50         147.50
                well as the BMC fee allocations.                                       295.00/hr

            EMB Analysis and review of all BMC invoices to date and drafted an e         0.90         265.50
                mail to counsel on allocation to other estate suggestions.             295.00/hr

            DWT Reviewed November loan summary compared to previous months               2.40         600.00
                activity and updated summary.                                          250.00/hr

            EMB Conversation with Mesirow regarding Standard Properties and              0.80         236.00
                drafted language to be included in letter to Compass Partners          295.00/hr
                requested exclusion of SP from any purchase price adjustment.

            EMB Conversation with Compass Partners to discuss space issues per           0.60         177.00
                request of counsel.                                                    295.00/hr

            EMB Continue to work on the Standard Property proposed transaction           0.60         177.00
                and follow up with Tom Allison.                                        295.00/hr
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                                                                                      Hrs/Rate         Amount

  1/10/2007 EMB Work with counsel on letter to counsel for Compass regarding              0.60         177.00
                physical location, access to space, and other logistic issues.          295.00/hr

            EMB Analysis of payoff statements of Slade, Bay Pomano and Elizabeth          0.90         265.50
                May and drafted memo to counsel and committee chair on                  295.00/hr
                observations.

  1/11/2007 EMB Review e mail from counsel regarding direct lender claims due to          0.30             88.50
                service fee calculations and responded on proposed action items.        295.00/hr

            EMB Performed analysis of BMC monthly expenses per request of                 0.50         147.50
                counsel and send follow up request to debtor's counsel.                 295.00/hr

  1/12/2007 EMB Review e mail from counsel regarding Standard Property and                0.30             88.50
                Compass Partners and responded with comments.                           295.00/hr

            EMB Continue analysis of BMC fees and expenses and sent e mail to             0.60         177.00
                debtor requesting explanation of expenses and proposed allocation       295.00/hr
                to the other estates.

  1/15/2007 EMB Read draft of supplement to objection to USACREG request and              0.20             59.00
                sent comments to counsel.                                               295.00/hr

            DWT Updated loan summary report and prepared list of items needed             2.10         525.00
                from Mesirow for the UCC including monthly financial reports, etc.      250.00/hr

            EMB Perform analysis and prepare summary of USA Realty 2005                   1.20         354.00
                general ledger / trial balance for related party transactions.          295.00/hr

            EMB Begin analysis of USA Realty 2004 general ledger for transactions         2.10         619.50
                with relaed parties.                                                    295.00/hr

            EMB Research certain loans and apprasials for committee member and            0.60         177.00
                drafted e mail that responded to certain questions.                     295.00/hr

  1/16/2007 EMB Follow up with counsel on the servicing of the various Colt loans         0.30             88.50
                between DTDF and USACM.                                                 295.00/hr

            EMB Analysis of and prepared summary of 2006 USA Realty insider               0.80         236.00
                transactions.                                                           295.00/hr

            EMB Follow up on additional requests from committee member including          0.40         118.00
                more Hilco appraisal data.                                              295.00/hr

            EMB Drafted e mail to counsel to discuss potential intercompany claim         0.20             59.00
                against Realty.                                                         295.00/hr

  1/17/2007 DWT Prepared summarized list of Del Bunch cash flow activity / loan           1.40         350.00
                history to USACM.                                                       250.00/hr
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                                                                                     Hrs/Rate         Amount

  1/18/2007 EMB Review application to employ special counsel for trust and gave          0.30             88.50
                comments to counsel.                                                   295.00/hr

            EMB Review e mails regarding potential offer to buy some FTDF loans          0.30             88.50
                and responded to counsel with comments.                                295.00/hr

  1/19/2007 DWT Reviewed recent budget vs actual summaries from Mesirow.                 1.30         325.00
                                                                                       250.00/hr

            EMB Review notes from counsel on recent court hearing and rulings.           0.30             88.50
                                                                                       295.00/hr

  1/22/2007 EMB Analysis of December loan collection amounts and proposed                0.80         236.00
                distribution amounts, sent comments to counsel and approval to         295.00/hr
                Mesirow.

            EMB Read letter to FTDF members regarding Sierra Liquidity Funds             0.20             59.00
                offer to buy interests at significant discounts.                       295.00/hr

            EMB Analysis of the Franklin Stratford and I-40 loans per request of         1.20         354.00
                counsel and sent comments and review debtor's counsel opinion          295.00/hr
                on exit fees.

            EMB Follow up on request from committee member for data on loan              0.50         147.50
                collections.                                                           295.00/hr

  1/23/2007 EMB Review and analysis of budget to actual reports received from            0.30             88.50
                Mesirow and had entered into summary schedule.                         295.00/hr

            EMB Continue to analyze fees and default interest issues on Bob              0.60         177.00
                Russell loans.                                                         295.00/hr

            EMB Analysis of recent loan payoffs and responded to committee               0.60         177.00
                member questions.                                                      295.00/hr

            EMB Review e mail from resigning committee member and counsel's              0.20             59.00
                response.                                                              295.00/hr

            EMB Conversation with committee member on loan payoffs, payoff               0.60         177.00
                requests, and other plan issues.                                       295.00/hr

            DWT Prepared analysis for weekly actual vs budgeted activity                 1.20         300.00
                                                                                       250.00/hr

            EMB Analysis of additional loan status summary as received from              0.30             88.50
                Mesirow and send to counsel.                                           295.00/hr

  1/24/2007 EMB Conversations with Compass Partners regarding computer                   1.30         383.50
                equipment and software and other logistical issues, and follow up      295.00/hr
                with counsel.
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                                                                                         Hrs/Rate         Amount

  1/24/2007 EMB Follow up with Mesirow on preparation of 2006 1099's for direct              0.40         118.00
                lenders and communicated with counsel.                                     295.00/hr

            EMB Review loan payoff statements for various Russell loans.                     0.40         118.00
                                                                                           295.00/hr

            EMB Updated professional fee summary per latest monthly invoices as              0.60         177.00
                received from counsel.                                                     295.00/hr

            DWT Continued inputting actual and budget data for the variance                  1.40         350.00
                anallysis                                                                  250.00/hr

  1/25/2007 DWT Prepared recent budget to actual summary with latest cash flow               0.70         175.00
                data from Mesirow.                                                         250.00/hr

            EMB Analysis of expense detail from BMC as received from debtor's                0.30             88.50
                counsel and sent memo to counsel.                                          295.00/hr

            EMB Read and review motion seeking to restrain foreclsoure on West               0.20             59.00
                Hills loan, noted amounts due to the USACM estate.                         295.00/hr

            EMB Review reconveyance documents related to the Franklin Stratford              0.10             29.50
                loans.                                                                     295.00/hr

            EMB Communication with counsel on interim fee issues and possible fee            0.30             88.50
                objections.                                                                295.00/hr

  1/26/2007 DWT Budget to actual analysis and creation of the prior 12 weeks activity        2.60         650.00
                                                                                           250.00/hr

  1/29/2007 EMB Analysis of the US Realty financial statements as received from              0.90         265.50
                Mesirow.                                                                   295.00/hr

            EMB Continue to work on weekly actual perfomrance vs. budget analysis.           0.50         147.50
                                                                                           295.00/hr

            EMB Follow up on the PBGC laibility issues per counsel.                          0.30             88.50
                                                                                           295.00/hr

            DWT Input and updated loan schedule for actual December activity                 2.20         550.00
                                                                                           250.00/hr

            EMB Read and review of Tree Moss' trustee motion for sale and bidding            0.40         118.00
                proceedures on the Marquis condos and gave comments to                     295.00/hr
                counsel.

            EMB Follow up on transitional issues and tomorrows call with counsel.            0.30             88.50
                                                                                           295.00/hr

            EMB Investigate the accrued liability for retirement plan per MOR and            0.40         118.00
                repsonded to counsel.                                                      295.00/hr
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                                                                                       Hrs/Rate         Amount

  1/29/2007 EMB Continued to update fee summary schedule with additional invoices          0.30             88.50
                as received from counsel.                                                295.00/hr

            DWT Completed budget to actual analysis for most recent data and loan          1.10         275.00
                collections for Mesirow.                                                 250.00/hr

  1/30/2007 EMB Conversation with Mesirow regarding latest cash flow budget.               0.20             59.00
                                                                                         295.00/hr

            EMB Review e mails on Franklin and I 40 loans and noted issues on              0.30             88.50
                waiver of alleged fees.                                                  295.00/hr

            EMB Read and comment on prejudgment writ regarding Royal Hotel as              0.40         118.00
                received from counsel.                                                   295.00/hr

            EMB Review and comment on pension liability document as received               0.40         118.00
                from Mesirow and requested additional data.                              295.00/hr

            DWT Revised and updated loan summary schedule for revised                      2.40         600.00
                November actual activity                                                 250.00/hr

            EMB Review latest budget to actual summary and forwarded to counsel            0.50         147.50
                with comments.                                                           295.00/hr

  1/31/2007 EMB Review debtors amended complaint against HMA Sales as                      0.30             88.50
                received from counsel.                                                   295.00/hr

            EMB Review disclosure statement as received from S&C.                          0.10             29.50
                                                                                         295.00/hr

            DWT Reviewed list of files sent by Susan Smith in response to questions        0.90         225.00
                on expenses.                                                             250.00/hr

            EMB Review various e mails regarding the filings related to the appeal.        0.40         118.00
                                                                                         295.00/hr

   2/1/2007 EMB Participate on conference call with counsel regarding SP loan              0.50         147.50
                settlement                                                               295.00/hr

            EMB Read and review counsel's memo on Standard Properrty claim,                1.10         324.50
                proposed letter from debtor to SP lenders and reviewed prior             295.00/hr
                summaries of SP issues.

            DWT Reviewed schedules prepared related to the purchase price                  0.90         225.00
                adjustment                                                               250.00/hr

            EMB Work with Mesirow to confirm origination fee paid to USACM on the          0.40         118.00
                SP loan.                                                                 295.00/hr

            EMB Follow up with Mesirow on loan payoffs in January.                         0.20             59.00
                                                                                         295.00/hr
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                                                                                     Hrs/Rate         Amount

   2/1/2007 EMB Follow up with Mesirow and counsel on SP origination fee and wire        0.20             59.00
                receipt confirmation.                                                  295.00/hr

            DWT Followed up with Mesirow on various items including questions            1.20         300.00
                realted to insolvency analysis and purchase price adjestments          250.00/hr

   2/2/2007 EMB Conversation with Mesirow regarding Colt loan payoff and drafted         1.20         354.00
                memo to counsel on issues.                                             295.00/hr

            EMB Follow up on KPMG and tax return issue with Mesirow and counsel.         0.20             59.00
                                                                                       295.00/hr

            EMB Follow up with Mesirow on SP loan origination fee issues per D.          0.20             59.00
                Walker.                                                                295.00/hr

   2/5/2007 EMB Review memo from counsel on licensing requirements.                      0.20             59.00
                                                                                       295.00/hr

            EMB Review and comment on Franklin Stratford and I 40 loan payoff            0.30             88.50
                agreements as received from counsel.                                   295.00/hr

            EMB Conversation with Larry Rieger regarding the SP loan proposal and        0.40         118.00
                drafted memo to counsel on realted issues.                             295.00/hr

            EMB Follow up on Colt loan issues, placed call to DTDF and follow up         0.40         118.00
                with counsel.                                                          295.00/hr

            EMB Conversation with Tom Allison to further discuss the Colt loan           1.20         354.00
                payoff proposal, drafted memo to committee on issues and               295.00/hr
                discussed offer with counsel.

            EMB Conversation with Chuck Heinsworth to discuss latest USACM BS            0.90         265.50
                and IS from the MOR and follow up with Mesirow on certain issues.      295.00/hr

            EMB Read and comment on KPMG engagement letter for 2006 and                  0.30             88.50
                2007 tax return and gave comments to counsel.                          295.00/hr

            EMB Particpate on conference call regarding the HMA sale issues.             0.70         206.50
                                                                                       295.00/hr

            DWT Reviewed loan summary activity and recent weekly cash collection         1.20         300.00
                activity                                                               250.00/hr

   2/6/2007 EMB Conversation with C. Hainsworth to discuss additional operating          0.40         118.00
                report issues.                                                         295.00/hr

            EMB Conversation with L. Rieger regarding lender statements and              0.30             88.50
                service fees                                                           295.00/hr

            EMB Participate on conference call with debtor, Mesirow and UCC              0.50         147.50
                counsel to discuss Colt loan payoff proposal.                          295.00/hr
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                                                                                         Hrs/Rate         Amount

   2/6/2007 DWT Updated various schedules and summaries used for UCC                         2.10         525.00
                communication                                                              250.00/hr

            EMB Review landlord demand letters and listing of personal property.             0.30             88.50
                                                                                           295.00/hr

   2/7/2007 DWT Prepared budget to actual summary analysis for recent activity.              1.10         275.00
                                                                                           250.00/hr

   2/8/2007 EMB Review additional e mails on Rio Rancho from debtors' counsel                0.40         118.00
                and responded to Rob C. on issues and possible call.                       295.00/hr

            EMB Read and comment on updated e mail on Rio Ranch partial release              0.50         147.50
                and related exit fee issues.                                               295.00/hr

            EMB Conversation with counsel regarding space needs and alternative              0.60         177.00
                plans and researched space issues.                                         295.00/hr

            EMB Review and comment on proposed payoff of Rio Rancho loan.                    0.50         147.50
                                                                                           295.00/hr

            DWT Followed up with Mesirow regarding various emails and related                0.80         200.00
                accounting issues.                                                         250.00/hr

            EMB Read letter from counsel to Debtors counsel regarding lender                 0.20             59.00
                holdbacks                                                                  295.00/hr

   2/9/2007 EMB Perform prelimianty review of claims and initial objection listing as        0.30             88.50
                received from counsel.                                                     295.00/hr

            EMB Perform anaysis and review of poposed Jan distribution to lenders            0.90         265.50
                and gave approval to Mesirow.                                              295.00/hr

            EMB Follow up with Mesirow on any loan collections that may impact               0.40         118.00
                purchase price adjustment.                                                 295.00/hr

            EMB Read and review stipulation and order on Rio Ranch partial release           0.60         177.00
                and follow up with counsel                                                 295.00/hr

            EMB Follow up on Colt loan issues and DTDF impact.                               0.40         118.00
                                                                                           295.00/hr

  2/12/2007 EMB Read and comment on I-40 propsed stipulation as recevied from                0.20             59.00
                Debtor.                                                                    295.00/hr

            DWT Reviewed docket for relevant filings including downloading the               0.80         200.00
                current operating report for analysis                                      250.00/hr

            EMB Read initial draft of my declaration in support of overbid allocation        0.30             88.50
                and discussed with counsel.                                                295.00/hr
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                                                                                       Hrs/Rate         Amount

  2/12/2007 EMB Follow up with Mesirow on Colt payoff.                                     0.10             29.50
                                                                                         295.00/hr

            EMB Analysis and review of loan colelction scheduels from Mesirow              0.30             88.50
                realted to USACM collections and impact on purchase price                295.00/hr
                adjustment.

            EMB Participate on follow up call with counsel and M. Tucker on                0.40         118.00
                collection account fund issues.                                          295.00/hr

            EMB Discussions with S. Smith regarding proposed asset purchase                0.70         206.50
                price adjsutments and closing statement figures and reviewed             295.00/hr
                schedules of collections.

            EMB Read partial release on Rio Racho, researched realted fees and             0.40         118.00
                default interest and gave comments to counsel.                           295.00/hr

            EMB Participate on conference call with debtor, direct lenders and UCC         0.90         265.50
                regarding collection account funds as of the petition date and           295.00/hr
                discussed payments.

  2/13/2007 EMB Review of correspondance from counsel on latest appeal and                 0.20             59.00
                hearing issues.                                                          295.00/hr

            EMB Participate on conference call regarding Colt and proposed payoffs.        1.20         354.00
                                                                                         295.00/hr

            EMB Reviewed various e mails from FTDF regarding overbid allocation            0.40         118.00
                issues to be included in declaration.                                    295.00/hr

            DWT Reviewed loan summary for information related to certain questions         0.30             75.00
                                                                                         250.00/hr

            EMB Review of sumamry of professional fees as received from Mesirow            0.20             59.00
                and commented on numbers.                                                295.00/hr

  2/14/2007 EMB Review summary of amounts "due to investors" per Mesirow and               0.60         177.00
                sent follow up to S. Smith with questions.                               295.00/hr

  2/15/2007 EMB Work with Mesirow on Colt payoff offer issues as well as Palm              0.70         206.50
                Harbor origination fee and discussed same with counsel                   295.00/hr

  2/16/2007 EMB Review correspondance from DTDF and FTDF regarding BMC                     0.40         118.00
                fees and allocations and responded with comments.                        295.00/hr

            EMB Work with Lewis & Roca on Colt proposal summary for committee.             0.40         118.00
                                                                                         295.00/hr

            EMB Follow up on Colt loan per request of Don Walker.                          0.20             59.00
                                                                                         295.00/hr
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                                                                                          Hrs/Rate         Amount

  2/16/2007 EMB Read and comment on proposed Colt payoff agreement as well as                 0.50         147.50
                compared to loan summary.                                                   295.00/hr

  2/19/2007 EMB Conversation with Larry Rieger to discuss sale status, loan issues            0.30             88.50
                and service fee issues.                                                     295.00/hr

            EMB Review omnibus objection to certain claims and all realted                    1.40         413.00
                objections exhibits and follow up with counsel with comments.               295.00/hr

            EMB Follow up with Mesirow on Colt loans.                                         0.20             59.00
                                                                                            295.00/hr

  2/20/2007 DWT Reviewed loan summary to determine certain loan status and other              0.40         100.00
                accrued items.                                                              250.00/hr

            EMB Conversation with S. Nouna regarding plan issues and trust                    0.30             88.50
                transition issues including office space.                                   295.00/hr

            EMB Review e mail from S. Smith regarding service fees and                        0.30             88.50
                reconciliation and follow up.                                               295.00/hr

  2/21/2007 EMB Follow up with P. Reiger on Jan direct lender distributions.                  0.30             88.50
                                                                                            295.00/hr

            EMB Researched escrow questions and responded to D. Walkers'                      0.40         118.00
                questions.                                                                  295.00/hr

            EMB Read and comment on outline of appellee brief.                                0.20             59.00
                                                                                            295.00/hr

            EMB Read limited motion to stay pending appeal as received from                   0.40         118.00
                counsel.                                                                    295.00/hr

  2/22/2007 EMB Review draft letter to Bullard regarding settlement offer on Colt loan        1.10         324.50
                payoff, reviewed numbers, and send comments to counsel.                     295.00/hr

  2/23/2007 EMB Analysis and review of all proposed claim objections including                1.80         531.00
                misfiled proof of interests, admin claims and others and follow up          295.00/hr
                with counsel with comments.

            EMB Read comments from counsel on objections to secured claims                    0.20             59.00
                                                                                            295.00/hr

  2/26/2007 EMB Review correspondence from committee member to counsel                        0.20             59.00
                regarding settlement conference issues.                                     295.00/hr

            EMB Review e mails from committee members and counsel's reply on                  0.30             88.50
                power of attorney and loans serving issues.                                 295.00/hr

            DWT                                                                               1.70         425.00
                                                                                            250.00/hr
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                                                                                      Hrs/Rate         Amount

  2/26/2007 EMB Update profesessional fee sumamry with recently received January          0.20             59.00
                invoices per counsel.                                                   295.00/hr

            EMB Follow up with Geoff Berman regarding work going forward with the         0.20             59.00
                truste.                                                                 295.00/hr

            DWT Prepared forecast for trust entity assuming various loan                  1.10         275.00
                performance scenarios - analyzed output                                 250.00/hr

  2/27/2007 EMB Follow up and had discussions with Mesirow on PV loan servicing           0.70         206.50
                issues and realted items                                                295.00/hr

            EMB Analysis of proposed closing reserve estimates per Mesirow,               1.30         383.50
                discussed with counsel, follow up on issues.                            295.00/hr

            EMB Conversation with counsel on Placer Vineyards loan serving issues.        0.30             88.50
                                                                                        295.00/hr

            EMB Follow up with Mesirow on PV loan issues and made suggestions.            0.30             88.50
                                                                                        295.00/hr

            EMB Respond to prefessional fee question from D. Walker.                      0.20             59.00
                                                                                        295.00/hr

  2/28/2007 EMB Update professional fee summary schedule with January invoices            0.60         177.00
                as received from counsel.                                               295.00/hr

            EMB Review and comment on Allison's declaration regarding payoff of           0.60         177.00
                two Colt loans.                                                         295.00/hr

            EMB Drafted memo to counsel on comments and concerns to Mesirow's             0.60         177.00
                proposed reserve for USACM for effective date purposes.                 295.00/hr

            EMB Prepared and orgaized all USACM documents and work product                3.40        1,003.00
                due to effective date and wind down of estate.                          295.00/hr

            DWT Updated loan summary information as of end of January                     2.60         650.00
                                                                                        250.00/hr

            EMB Conversation with C. Hainsworth regarding yesterdays committee            0.50         147.50
                call and tomorrow's hearing.                                            295.00/hr

   3/5/2007 EMB Updated professional fee summary per counsel.                             0.20             59.00
                                                                                        295.00/hr

            EMB Read and comment on latest stipulation on interim compensation            0.20             59.00
                procedures.                                                             295.00/hr

   3/6/2007 EMB Conversation with S. Nouna regarding Compass and loan payoffs.            0.40         118.00
                                                                                        295.00/hr
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                                                                                        Hrs/Rate         Amount

   3/6/2007 EMB Read proposal from HFA on Colt Gateway payoff and research                  0.40          118.00
                payoff data.                                                              295.00/hr

            EMB Read motion to sell PV loan to Compass and gave comments to                 0.40          118.00
                counsel.                                                                  295.00/hr

            EMB Review of payoff amounts on Colt per request of counsel and sent            0.50          147.50
                follow up comments.                                                       295.00/hr

            EMB Read e mail from counsel regarding objection to LePome's fee                0.20             59.00
                application.                                                              295.00/hr

   3/9/2007 EMB Review proposed effective date transfer numbers, discussed                  1.60          472.00
                issues with Mesirow and follow up with counsel.                           295.00/hr

  3/10/2007 EMB Review e mail and attachments from debtor's counsel regarding               0.90          265.50
                effective date transfers and follow up with Susan Smith on                295.00/hr
                professional fees.


            SUBTOTAL:                                                              [      704.90      187,714.00]

            Financial Projs & Feasib

  7/17/2006 DWT Created a cash flow summary (13 week) using court documents                 2.00          500.00
                and supporting documents filed with budget information.                   250.00/hr

  7/18/2006 DWT Re-created 13 week cash flow summary based on cash flow                     1.20          300.00
                summary information received from debtor advisors.                        250.00/hr

  7/19/2006 DWT Created and finalized the 13 week cash flow summary                         2.80          700.00
                                                                                          250.00/hr

  7/20/2006 DWT Compared prior cash flow summary to current cash flow summary               3.80          950.00
                                                                                          250.00/hr

            DWT Created cash flow summary based on updated forecast and                     3.90          975.00
                compared it to the previous forecast                                      250.00/hr

  7/27/2006 DWT Created list of items to based on review of cash flow detail.               1.40          350.00
                                                                                          250.00/hr

  7/28/2006 DWT Created variance report for cash flow budget detail.                        2.20          550.00
                                                                                          250.00/hr

  7/31/2006 DWT Reviewed cash forecast and prepared questions for site visit on             1.40          350.00
                subsequent day.                                                           250.00/hr


            SUBTOTAL:                                                              [       18.70        4,675.00]
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                                                                                         Hrs/Rate         Amount

            General Case Strategy

  7/14/2006 EMB Conference call with counsel to discuss case issues and pending              0.80         236.00
                issues.                                                                    295.00/hr

  7/16/2006 EMB Read and made notes on debtors' presentation to the USA Capital              0.50         147.50
                creitors'committee meeting on June 29. Noted follow up issues.             295.00/hr

            EMB Review previosuly preapred due diligence request, court calander             0.60         177.00
                and other case information as received from counsel.                       295.00/hr

  7/17/2006 EMB Review listing of interested parties, creditors and professionals and        0.60         177.00
                commented on items to be included in disclosure.                           295.00/hr

            EMB Drafted preliminary work plan of pending issues and sent to                  1.10         324.50
                counsel and committee for comments.                                        295.00/hr

  7/18/2006 EMB Review agenda and prior committee meeting minutes in                         0.20             59.00
                preperation of tomorrow's committee call.                                  295.00/hr

            DWT Participated in a conference call to discuss distributions.                  1.00    NO CHARGE
                                                                                           250.00/hr

  7/19/2006 EMB Participate on conference call with Debtor and other parties to              1.90         560.50
                discuss current issues and prioritize information request.                 295.00/hr

            EMB Participate on committee conference call to disccused pending                1.00         295.00
                issues and motion to distribute funds.                                     295.00/hr

  7/20/2006 EMB Correspondence with committee chairman to set up meeting.                    0.20             59.00
                                                                                           295.00/hr

  7/21/2006 DWT Participated on a conference call as well as the prior planning and          1.70         425.00
                debrief.                                                                   250.00/hr

  7/24/2006 EMB Meeting with committee chairperson to discuss various case issues.           1.10         324.50
                                                                                           295.00/hr

  7/25/2006 EMB Participated in committee meeting with Tom Allison.                          2.20         649.00
                                                                                           295.00/hr

  7/26/2006 EMB Participated on weekly committee conference call.                            3.30         973.50
                                                                                           295.00/hr

            EMB Participated in follow up conference call with committee.                    1.40         413.00
                                                                                           295.00/hr

  7/31/2006 EMB Particpated in conferecne call with the Debtor and other commitee            0.60         177.00
                representatives.                                                           295.00/hr
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                                                                                      Hrs/Rate         Amount

  7/31/2006 EMB Drafted memo to counsel and commitee chairman regarding assets            0.40         118.00
                valuation issues.                                                       295.00/hr

   8/2/2006 EMB Participated in weekly committee conference call.                         2.20         649.00
                                                                                        295.00/hr

   8/3/2006 EMB Coordinated with counsel on meeting and dinner with Mesirow.              0.30             88.50
                                                                                        295.00/hr

            EMB Drafted work plan for new tasks as approved by committee.                 0.30             88.50
                                                                                        295.00/hr

            EMB Participate in conference calls with other committee counsel and          1.60         472.00
                advisors to discuss tomorrows hearing.                                  295.00/hr

   8/4/2006 EMB Met with counsel to follow up on issues.                                  0.40         118.00
                                                                                        295.00/hr

   8/8/2006 EMB Follow up with counsel on meeting issues.                                 0.30             88.50
                                                                                        295.00/hr

            EMB Participated in meeting with Mesirow in Los Angeles to discuss            4.60        1,357.00
                plan and sales issues.                                                  295.00/hr

   8/9/2006 DWT Participated in conference call with committee - NO CHARGE                1.90    NO CHARGE
                                                                                        250.00/hr

            EMB Particiapted in weekly committee conference call.                         1.90         560.50
                                                                                        295.00/hr

  8/14/2006 EMB Drafted questions and information requests to Mesirow along with          0.70         206.50
                work plan as well as seperate e mail requesting office for FA use.      295.00/hr

            EMB Particiapted in weekly conference call with other committees.             0.90         265.50
                                                                                        295.00/hr

  8/15/2006 EMB Meet with Diversified Committee at L&R.                                   1.20         354.00
                                                                                        295.00/hr

            EMB Meet with counsel and committee chair to discuss sale issues and          1.10         324.50
                other plan options.                                                     295.00/hr

  8/16/2006 EMB Responded to various inquiries from counsel.                              0.30             88.50
                                                                                        295.00/hr

  8/17/2006 EMB Participated in all hands committee and debtor meeting to discuss         2.30         678.50
                plan issues.                                                            295.00/hr

  8/21/2006 EMB Participated in USACM committee call.                                     3.30         973.50
                                                                                        295.00/hr
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                                                                                     Hrs/Rate         Amount

  8/21/2006 EMB Correspondence with Mesirow regarding infomration and data               0.30             88.50
                request and access to people to answer questions.                      295.00/hr

  8/22/2006 EMB Meet with Mesirow to discuss USACM assets for sale, plan issues          2.10         619.50
                and litigation trust matters.                                          295.00/hr

  8/23/2006 EMB Conversation with counsel to discuss plan issues and matters             0.30             88.50
                discussed with Mesirow.                                                295.00/hr

            EMB Participated on conference call with Debtor and other committees.        1.30         383.50
                                                                                       295.00/hr

            EMB Met with committee members to discuss sale and plan issues.              1.10         324.50
                                                                                       295.00/hr

            EMB Call with counsel and committee chairman to discuss latest loan          1.20         354.00
                summary, plan development and asset sales.                             295.00/hr

  8/28/2006 EMB Drafted memo to counsel and committee chairperson to discuss             0.40         118.00
                other pending issues.                                                  295.00/hr

            EMB Participated on conference call with debtor and other committee          1.20         354.00
                professionals.                                                         295.00/hr

  8/29/2006 EMB Conversation with counsel on sale and plan issues.                       0.30             88.50
                                                                                       295.00/hr

            EMB Worked with Mesirow to coordinate information requests and               0.30             88.50
                access to data.                                                        295.00/hr

  8/30/2006 EMB Participated on USACM committee call.                                    1.30         383.50
                                                                                       295.00/hr

            EMB Conversations with T. Allison regarding plan and sale issues.            0.50         147.50
                                                                                       295.00/hr

   9/5/2006 EMB Participate in USACM committee conference call.                          1.60         472.00
                                                                                       295.00/hr

   9/7/2006 EMB Participated in committee conference call.                               1.90         560.50
                                                                                       295.00/hr

  9/11/2006 EMB Participated on all hands conference call to discuss term sheet.         0.90         265.50
                                                                                       295.00/hr

  9/18/2006 EMB Participate on UCC conference call to disucss current issues             2.60         767.00
                including plan, sale and cash flow issues.                             295.00/hr

  9/20/2006 EMB Participate on conference call with USACM and DTF.                       2.80         826.00
                                                                                       295.00/hr
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                                                                                   Hrs/Rate         Amount

  9/20/2006 EMB Participated on all hands conference call.                             1.10         324.50
                                                                                     295.00/hr

  9/21/2006 EMB Participated on conference call with USACM committee                   1.60         472.00
                                                                                     295.00/hr

            EMB Participate on conference call with DTF and USACM committee            0.70         206.50
                professionals                                                        295.00/hr

  9/26/2006 EMB Follow up conversation with counsel on pending issues for              0.30             88.50
                Thursday's hearing.                                                  295.00/hr

            EMB Participated in UCC conference call.                                   2.10         619.50
                                                                                     295.00/hr

            EMB Participated on all hands conference call.                             1.10         324.50
                                                                                     295.00/hr

  9/29/2006 EMB Drafted updated work plan and sent to counsel and committee            0.60         177.00
                chair for comments and suggestions.                                  295.00/hr

  10/3/2006 EMB Participated on UCC conference call.                                   2.20         649.00
                                                                                     295.00/hr

  10/6/2006 EMB Participate on committee conference call                               1.30         383.50
                                                                                     295.00/hr

 10/10/2006 EMB Participate in unsecured creditors' committee conference call          0.90         265.50
                                                                                     295.00/hr

 10/11/2006 EMB Participated on conference call to discuss recent developments         0.70         206.50
                with IP and Joe.                                                     295.00/hr

 10/16/2006 EMB Participated on UCC conference call to discuss plan issues.            2.40         708.00
                                                                                     295.00/hr

 10/26/2006 EMB Conversation with committee member regarding conversion issue.         0.30             88.50
                                                                                     295.00/hr

            EMB Participated on conference call with Mesirow and other counsel         0.50         147.50
                regarding IP issues.                                                 295.00/hr

 10/30/2006 EMB Conversation with counsel regarding court hearing issues and           0.20             59.00
                planned call with other committees.                                  295.00/hr

 10/31/2006 EMB Participated on committee conference call to disucuss current          2.60         767.00
                issues.                                                              295.00/hr

 11/10/2006 EMB Review agenda for committee call and prepared information to be        0.20             59.00
                discussed.                                                           295.00/hr
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                                                                                        Hrs/Rate         Amount

 11/10/2006 EMB Participated on USACM committee call                                        2.40         708.00
                                                                                          295.00/hr

 11/14/2006 EMB Particiapted on UCC conference call to discuss current issues.              1.40         413.00
                                                                                          295.00/hr

 11/16/2006 EMB Read UST objection to Sierra's third monthly fee statement and              0.20             59.00
                responded to counsel.                                                     295.00/hr

 11/22/2006 EMB Particapted on committee conference call.                                   2.80         826.00
                                                                                          295.00/hr

            EMB Review agenda and exhibits for committee comference call and                0.30             88.50
                made notes on discussion issues.                                          295.00/hr

  12/1/2006 EMB Particapte on committee conference call to discuss trustee                  4.50        1,327.50
                selection, sale issues and other pending issues.                          295.00/hr

  12/5/2006 EMB Particapte on UCC conference call to discuss sale and plan issues.          3.40        1,003.00
                                                                                          295.00/hr

 12/13/2006 EMB Particiapted on conference call with committee to dicuss settlement         1.40         413.00
                meeting and other issues.                                                 295.00/hr

 12/18/2006 EMB Particapted on GUC committee conference call.                               0.90         265.50
                                                                                          295.00/hr

 12/27/2006 EMB Meeting wiht counsel and new proposed trustee to discuss work               3.30         973.50
                plan and other trust issues.                                              295.00/hr

 12/28/2006 EMB Conversation with committee member as follow up to committee                0.80         236.00
                call to discuss sale and other issues.                                    295.00/hr

            EMB Participated on conference call with unsecured creditors committee          1.70         501.50
                to discuss plan and other issues.                                         295.00/hr

            EMB Conversation with Don Walker to discuss case issues and other               0.50         147.50
                current issues.                                                           295.00/hr

   1/2/2007 DWT Discussed workplan with TB for the upcoming time period                     0.30             75.00
                regarding issue                                                           250.00/hr

   1/4/2007 EMB Review e mail form counsel on yesterdays hearing.                           0.30             88.50
                                                                                          295.00/hr

   1/5/2007 EMB Conversation with M. Yoder regarding IT transition issues.                  0.30             88.50
                                                                                          295.00/hr

   1/9/2007 DWT Discussed items with TB that need to be completed prior to the final        0.20             50.00
                plan confirmation                                                         250.00/hr
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                                                                                              Hrs/Rate         Amount

  1/24/2007 EMB Participated on UCC conference call to discuss effective date, sale               1.60         472.00
                and other issues.                                                               295.00/hr

  1/30/2007 EMB Participated on all hands conference call regarding transition and                1.20         354.00
                other pending issues.                                                           295.00/hr

   2/1/2007 EMB Prepare for and partciapte on conference call with UCC.                           1.50         442.50
                                                                                                295.00/hr

   2/6/2007 EMB Participate on all committee conference call regarding transition                 1.10         324.50
                issues, appeal, and other issues.                                               295.00/hr

   2/9/2007 EMB Prepare for and particiapte on committee conference call.                         0.90         265.50
                                                                                                295.00/hr

  2/16/2007 EMB Particpate on UCC conference call.                                                1.40         413.00
                                                                                                295.00/hr

  2/21/2007 EMB Participate on all hand conference call regarding 1142 motion.                    1.20         354.00
                                                                                                295.00/hr

  2/23/2007 EMB Read memo and attachments from counsel to committee on case                       0.90         265.50
                status and issues as well as recent motion filings and responded                295.00/hr
                back to counsel.

  2/27/2007 EMB Participate on UCC conference call.                                               1.50         442.50
                                                                                                295.00/hr


             SUBTOTAL:                                                                   [      116.80       33,501.50]

             Liquidation Analysis

   8/2/2006 DWT Created Liquidation Analysis based on expected recovery of assets                 2.80         700.00
                                                                                                250.00/hr

  8/16/2006 DWT Created recovery estimate for short term investment based on                      1.70         425.00
                6/30/06 loan balance, interest due and hilco's appraisal.                       250.00/hr

  8/18/2006 DWT Performed analysis of collectibility of other assets as of filing date            1.50         375.00
                                                                                                250.00/hr

             DWT Performed analysis of collectibility of all assets compared to                   1.70         425.00
                 Mesirow estimates                                                              250.00/hr

             DWT performed analysis of collectibility of extention fees                           2.10         525.00
                                                                                                250.00/hr

             DWT Performed analysis of collectibility of short term investments.                  1.80         450.00
                                                                                                250.00/hr
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                                                                                             Hrs/Rate         Amount

  8/21/2006 DWT Added notes receivable analysis template to the asset detail                     1.70         425.00
                analysis summary.                                                              250.00/hr

            DWT Consolidated various aspects of liquidation analysis into summary.               2.50         625.00
                                                                                               250.00/hr

            DWT Performed analysis of collectibility of prepaid interest as of filing            1.40         350.00
                date.                                                                          250.00/hr

            EMB Analysis of estiamted liquidation values per Mesirow and Sierra                  0.70         206.50
                calculations. Follow up on certain items and questions.                        295.00/hr

  8/23/2006 EMB Analyze preliminary liquidation analysis of USACM and compared                   1.40         413.00
                balance sheet items for sale.                                                  295.00/hr

  8/24/2006 DWT Updated liquidation analysis summary with current information                    0.80         200.00
                received from USA Capital organization charts and other new                    250.00/hr
                information received.

            EMB Analysis liquidation analysis of USACM and drafted memo to                       0.80         236.00
                counsel and committee chairperson on financials.                               295.00/hr


            SUBTOTAL:                                                                   [       20.90        5,355.50]

            Misc Motions & Responses

  7/14/2006 EMB Read debtors' motion to distribute funds and made notes of issues                1.10         324.50
                to follow up on.                                                               295.00/hr

            EMB Conversation with FTI to discuss service fee percentages and other               0.60         177.00
                issues in motion to pay lenders.                                               295.00/hr

  7/16/2006 EMB Analysis of Debtors' loan statistics report as of April 12. Noted                0.40         118.00
                follow up issues.                                                              295.00/hr

  7/17/2006 EMB Read and made notes on motions for continued use of cash.                        0.90         265.50
                Added to task list.                                                            295.00/hr

            EMB Conversation with counsel to discuss aspects of pending motion to                0.30             88.50
                distribute case as well as use of cash. Discussed budget to actual             295.00/hr
                analyses.

  7/18/2006 EMB Prepared sample of direct lender offset example in preperation of                1.30         383.50
                committee conference call.                                                     295.00/hr

            DWT Received and reviewed distribution excel summary from Mesirow                    3.30         825.00
                and re-sorted various distribution scenarios based on grouping                 250.00/hr
                methodologies (client ID, Account #, by loan).
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                                                                                        Hrs/Rate         Amount

  7/18/2006 EMB Begin reviewing debtors' analysis for propsoed loan distribution.           1.40         413.00
                Noted issues for follow up.                                               295.00/hr

            EMB Read and review of motion to distribute funds, loan servicing               0.80         236.00
                agreement sample and sample of direct lender statement.                   295.00/hr

            EMB Coordinated with debtor on conference call to review data for               0.30             88.50
                motion to distribute funds.                                               295.00/hr

            EMB Participate on conference call with Mesirow and committee                   0.90         265.50
                advisors to discuss database for proposed fund distribution.              295.00/hr

            EMB Conversation with counsel on conference call issues.                        0.40         118.00
                                                                                          295.00/hr

  7/19/2006 DWT Read docket to see recent filings and read certain selected items           1.50    NO CHARGE
                                                                                          250.00/hr

            EMB Follow up conversation with counsel on meeting with Mesirow.                0.30             88.50
                                                                                          295.00/hr

            EMB Meeting with Susan Smith of Mesirow to discuss data for motion to           1.40         413.00
                distribute funds.                                                         295.00/hr

            EMB Review various sortings summaries of proceeds to distribute funds           0.90         265.50
                and researched inconsistencies.                                           295.00/hr

            DWT Sorted data from loan activity by contract ID based on updated              1.70         425.00
                information received from debtor advisor.                                 250.00/hr

            DWT Sorted data from loan activity by account # based on updated                1.40         350.00
                information received from debtor advisor.                                 250.00/hr

            DWT Sorted data from loan activity by loan # based on updated                   1.30         325.00
                information received from debtor advisor.                                 250.00/hr

            DWT Summarized each loan activity scenario (client ID, account #, by            0.20             50.00
                loan data) to compare the result of each distribution scenario.           250.00/hr

  7/20/2006 EMB Drafted memo to committee and counsel regarding motion to                   1.30         383.50
                distribute funds, recovery of the prepaid interest and other related      295.00/hr
                topics. Sent to counsel for review.

            EMB Read and review third revised budget for use of cash. Drafted e             0.60         177.00
                mail to counsel on cash flow issues.                                      295.00/hr

            EMB Continue analysis of data to be used to calculate amounts to be             1.60         472.00
                distributed. Discussed with Mesirow.                                      295.00/hr

            EMB Made edits to memo regarding motion to distribute funds to be               0.30             88.50
                shared with all committees.                                               295.00/hr
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                                                                                       Hrs/Rate         Amount

  7/20/2006 EMB Conversation with counsel regarding motion to distribute funds and         0.80         236.00
                made edits to memo.                                                      295.00/hr

  7/21/2006 EMB Preapred for and particiapted in conference call with Debtor and           1.20         354.00
                counsel to discuss data and other issues on motion to distribute         295.00/hr
                funds.

  7/22/2006 EMB Read and review joint response to motion to distribute funds and           1.60         472.00
                made edits per request of counsel.                                       295.00/hr

  7/24/2006 EMB Revised investor example of offsets depending on grouping.                 0.30             88.50
                                                                                         295.00/hr

            EMB Follow up with Mesirow on timing to receive latest database.               0.10             29.50
                                                                                         295.00/hr

            EMB Further analysis of impacted direct lenders who would be impacted          0.80         236.00
                under grouping by client ID number per request of counsel.               295.00/hr

            EMB Analysis of latest loan data and amounts to be distributed.                1.40         413.00
                                                                                         295.00/hr

            DWT Re-sorted the Mesirow data based on the updated laon detail file           3.70         925.00
                that was received.                                                       250.00/hr

            EMB Prepared analysis comparing withheld amount per account ID vs.             1.80         531.00
                customer number per request of counsel.                                  295.00/hr

            EMB Review latest version of response from counsel and made                    0.40         118.00
                comments then sent back to counsel for review.                           295.00/hr

  7/25/2006 EMB Compared Mesirow's totals per latest data to our calculations and          0.80         236.00
                follow up with Mesirow.                                                  295.00/hr

            EMB Made edits to Joint Response to Motion to Distribute Funds per             1.30         383.50
                latest Mesirow data.                                                     295.00/hr

            EMB Prepared specific lender summaries of impact on sort by different          1.30         383.50
                methods with latest data from Mesirow.                                   295.00/hr

            EMB Review latest version of Joint Response as received from counsel.          0.50         147.50
                                                                                         295.00/hr

            EMB Prepared new analysis of lenders who will not receive any                  1.20         354.00
                distribution if grouped by client ID but would if sorted by account      295.00/hr
                number per request of counsel.

            DWT Compared the results of each sort (by Client ID, by Account #, by          6.90        1,725.00
                Loan #) to the results received from Mesirow; Sorted client ID vs        250.00/hr
                account # to determine the payment that would be made to loans in
                account # and not in client ID
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                                                                                          Hrs/Rate         Amount

  7/25/2006 EMB Attended court hearing                                                        2.20         649.00
                                                                                            295.00/hr

            EMB Review of loan data that was resent by Mesirow and compared                   0.60         177.00
                totals to prior summaries. Noted difference.                                295.00/hr

  7/26/2006 DWT Summarized which items or groups of Client ID that may get                    2.50         625.00
                nothing vs the same items getting a payment when sorted by                  250.00/hr
                account # to demonstrate the effect of how/how much someone
                would be paid.

            DWT Review recent motion to not distribute funds and tied it out to the           2.60         650.00
                supporting detail.                                                          250.00/hr

            EMB Participated on weekly committee call with other committees to                0.90         265.50
                discuss pending motions.                                                    295.00/hr

            EMB Finalized analysis for lenders who would be impacted by client ID             0.60         177.00
                vs. account number. Sent to counsel to include in motion.                   295.00/hr

            EMB Work with Diversified Fund financial advisor on numbers from                  0.30             88.50
                Mesirow data for Motion to Distribute Funds.                                295.00/hr

            EMB Conversation with Annie and Suzanne (committee members) to                    0.30             88.50
                discuss voting issues for Motion to Distribute Funds.                       295.00/hr

  7/27/2006 EMB Review request from Fertitta, discussed with counsel, made                    0.50         147.50
                request with Mesirow and give comments.                                     295.00/hr

            EMB Review declaration in support of response to motion to distribute             1.10         324.50
                funds. Made comments, discussed with counsel and signed.                    295.00/hr

  7/28/2006 DWT Re-created the loan history summary based on the pdf data                     1.80         450.00
                received from the debtor advisor to better understand loan volume           250.00/hr
                data by loan performance type.

  7/31/2006 EMB Review declaration of Diversified Trust's advisor regarding Ponzi             0.60         177.00
                scheme and prepetition amounts in collection account, per request           295.00/hr
                of counsel.

   8/7/2006 EMB Read and comment on amended Fertitta motion.                                  0.20             59.00
                                                                                            295.00/hr

  8/11/2006 EMB Review proposed order to distribute funds and gave comments to                0.30             88.50
                counsel.                                                                    295.00/hr

  8/14/2006 EMB Review and respond to language in order for fund distribution.                0.20             59.00
                                                                                            295.00/hr

            EMB Read and comment on suggestions regarding $9 mm of pre                        0.60         177.00
                petition funds in collection account and amount to not be distributed.      295.00/hr
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                                                                                           Hrs/Rate         Amount

  8/21/2006 EMB Review draft of letter to be sent to direct lenders to recover pre paid        0.20             59.00
                interest.                                                                    295.00/hr

  8/25/2006 EMB Review objection filed by USACM as well as other motions                       0.60         177.00
                received from counsel.                                                       295.00/hr

 10/10/2006 EMB Read and comment on Motion to Authorize Debtor to Approve Loan                 0.90         265.50
                Modification.                                                                295.00/hr

 10/11/2006 EMB Read T. Allison's declaration in support of various motions.                   0.60         177.00
                                                                                             295.00/hr

 10/19/2006 EMB Review and gave comments on reply and declaration is support of                0.30             88.50
                retention plan                                                               295.00/hr

 10/23/2006 EMB Review final version of reply and declaration is support of retention          0.30             88.50
                plan                                                                         295.00/hr

             EMB Work with counsel on Lerin Hills., Marlton Square and other motion            0.50         147.50
                 issues and responses.                                                       295.00/hr

             EMB Read motion regarding intercompany claims                                     0.10             29.50
                                                                                             295.00/hr

 10/26/2006 EMB Read and comment on response to the UST motion to convert as                   0.70         206.50
                well as supporting declaration.                                              295.00/hr

             EMB Read and gave comments to counsel on the UST's motion for                     0.90         265.50
                 conversion to a Chapter 7.                                                  295.00/hr

 11/21/2006 EMB Review and comment on the Gateway Stone answer and complaint                   0.20             59.00
                per counsel request.                                                         295.00/hr

             EMB Review amended complaint against Standard Properties.                         0.40         118.00
                                                                                             295.00/hr

 11/29/2006 EMB Read e mails from counsel on JM 2004 examinations.                             0.30             88.50
                                                                                             295.00/hr

             EMB Review 2004 request for S. Reale.                                             0.10             29.50
                                                                                             295.00/hr

 11/30/2006 EMB Review draft complaint against insiders.                                       0.60         177.00
                                                                                             295.00/hr

  12/6/2006 EMB Review of motion against assignment of loan as received from                   0.30             88.50
                counsel.                                                                     295.00/hr

 12/11/2006 EMB Read and comment on stipulation to provide full release and                    0.30             88.50
                reconveyances for loans as received from debtor.                             295.00/hr
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                                                                                          Hrs/Rate         Amount

 12/13/2006 EMB Review and comment on response to motion regarding IP                         0.10             29.50
                protective order.                                                           295.00/hr

 12/14/2006 EMB Particpated on conference call regarding the USA IP IV filing and             0.60         177.00
                the impact on USACM and DTDF,                                               295.00/hr

 12/15/2006 EMB Review data as received from counsel on Tree Moss and IP filing.              0.30             88.50
                                                                                            295.00/hr

 12/18/2006 EMB Review motiosn filed in regarding to JM 2004 examinations.                    0.20             59.00
                                                                                            295.00/hr

 12/21/2006 EMB Review complaint filed and article on the Reale aviodable action.             0.20             59.00
                                                                                            295.00/hr

 12/28/2006 EMB Read and review complaint and TRO on Royal Hotel sale and lien                0.60         177.00
                issues as recevied from counsel.                                            295.00/hr

   1/2/2007 EMB Review response to Dayco's motion.                                            0.10             29.50
                                                                                            295.00/hr

  1/19/2007 EMB Review joinder of UCC in opposition to motion to distribute funds.            0.20             59.00
                                                                                            295.00/hr

  1/24/2007 EMB Read and review amended complaint against Reale.                              0.20             59.00
                                                                                            295.00/hr

  1/31/2007 EMB Read hearing status and agenda for today's hearing as received                0.10             29.50
                from counsel.                                                               295.00/hr


            SUBTOTAL:                                                                [       73.50       20,097.00]

            Mo Operating Reports

  7/24/2006 DWT Summarized monthly operating report for the months of April - June            4.20        1,050.00
                2006 for USA Commercial Mortgage into easy to access excel                  250.00/hr
                reports

            DWT Summarized monthly operating report for the months of April - June            0.80    NO CHARGE
                2006 for USA Securities into easy to access excel reports                   250.00/hr

            DWT Summarized monthly operating report for the months of April - June            0.50    NO CHARGE
                2006 for USA Realty Advisors into easy to access excel reports              250.00/hr

            DWT Summarized monthly operating report for the months of April - June            0.70    NO CHARGE
                2006 for USA Capital DTFD into easy to access excel reports                 250.00/hr

            DWT Summarized monthly operating report for the months of April - June            0.70    NO CHARGE
                2006 for USA Capital FTFD into easy to access excel reports                 250.00/hr
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                                                                                      Hrs/Rate         Amount

   8/7/2006 EMB Review summary of monthly operating reports and noted issues for          0.60         177.00
                follow up.                                                              295.00/hr

   8/8/2006 EMB Review monthly operating reports and noted issues for follow up on        0.60         177.00
                actual performance.                                                     295.00/hr

  8/23/2006 DWT Input June monthly operating results into summary                         3.30         825.00
                                                                                        250.00/hr

   9/5/2006 EMB Drafted memo to counsel on operating report summary and                   0.30             88.50
                distributed analysis for review.                                        295.00/hr

  9/22/2006 DWT Reviewed recent documents for updated operating report summary            0.60         150.00
                                                                                        250.00/hr

  9/26/2006 DN     Update MOR summary analysis with Aug. 2006 results                     1.20         300.00
                                                                                        250.00/hr

  9/28/2006 DWT Began updating monthly operating report summary for the recently          0.80         200.00
                filed August 2006 reports for First Trust                               250.00/hr

            DWT Began updating monthly operating report summary for the recently          2.40         600.00
                filed August 2006 reports for USACM.                                    250.00/hr

            DWT Began updating monthly operating report summary for the recently          1.40         350.00
                filed August 2006 reports for Div Trust.                                250.00/hr

  10/2/2006 DWT Analysis of Monthly Operating Report data for August                      2.70         675.00
                                                                                        250.00/hr

            EMB Review of USACM MOR analysis and sent to counsel and                      0.60         177.00
                committee for review.                                                   295.00/hr

  10/3/2006 DWT Analysis of changes and activity of month to month operating              1.60         400.00
                reports                                                                 250.00/hr

 10/11/2006 DWT Reviewed operating report activity followed up with request of            0.70         175.00
                financial statements                                                    250.00/hr

 10/16/2006 DWT Collected recent operating reports and prepared summary of past           0.80         200.00
                activity.                                                               250.00/hr

 10/24/2006 DN     Locate, download and analysis of Sept. 06 USACMC MOR                   0.90         225.00
                                                                                        250.00/hr

 10/26/2006 DN     Update MOR summary/trend report with Sept. 06 MOR figures              1.20         300.00
                                                                                        250.00/hr

 10/27/2006 DN     Update MOR summary/trend report with Sept. 06 MOR figures              1.00         250.00
                                                                                        250.00/hr
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                                                                                             Hrs/Rate         Amount

 10/30/2006 DWT Analyzed MOR monthly detail for the prior 3 months                               1.70         425.00
                                                                                               250.00/hr

             DWT Input MOR data for August and September                                         1.90         475.00
                                                                                               250.00/hr

 11/21/2006 DWT Analysis of current operating reports.                                           1.80         450.00
                                                                                               250.00/hr

 11/27/2006 DWT Finalized updated on current monthly operating report and                        2.10         525.00
                analyzed month to month activity                                               250.00/hr

  12/1/2006 DWT Reviewed operating report balance sheets for each of the entities                1.20         300.00
                and compared to the previous months' balance.                                  250.00/hr

 12/20/2006 DWT Set up template for operating report summary for current month                   0.90         225.00
                                                                                               250.00/hr

   1/2/2007 DWT Updated monthly operating report summary for each of the 5 debtor                3.20         800.00
                entities.                                                                      250.00/hr

   1/3/2007 EMB Review of December MOR summary, noted issues for follow up.                      0.70         206.50
                                                                                               295.00/hr

  1/10/2007 DWT Updated current month's operating report summary and prepared                    1.10         275.00
                list of follow up questions related to certain activity in current month.      250.00/hr

  1/22/2007 DWT Updated December MOR summary schedule and analysis and                           2.10         525.00
                forwarded to TB for review.                                                    250.00/hr

  1/23/2007 EMB Analysis of USACM and USA Realty MOR for management fee                          0.80         236.00
                accruals and actual cash transfers per request of counsel.                     295.00/hr

             DWT Continued and completed December MOR summary and analysis                       1.40         350.00
                 including follow up with Mesirow.                                             250.00/hr

  1/24/2007 EMB Review latest summary of MOR for all debtor entities and                         0.40         118.00
                forwarded to counsel for committee review.                                     295.00/hr

  1/31/2007 DWT Followed up with questions related to prior period operating report              0.40         100.00
                results.                                                                       250.00/hr

   2/8/2007 DWT Prepared template of MOR summary for Jan 07                                      0.50         125.00
                                                                                               250.00/hr

  2/19/2007 DWT Perform analysis of latest operating reports as filed by debtor.                 1.20         300.00
                                                                                               250.00/hr

  2/21/2007 DWT Updated operating report summary through January 2007                            2.60         650.00
                                                                                               250.00/hr
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                                                                                            Hrs/Rate         Amount

  2/22/2007 DWT Updated operating report summary through January 2007                           2.20         550.00
                                                                                              250.00/hr

  2/26/2007 DWT Completed summary of January operating report and analyzed                      1.40         350.00
                output                                                                        250.00/hr

  2/27/2007 EMB Review summary of January MOR for all debtors, researced                        1.10         324.50
                January loan collections to tie to Jan cash receitps on MOR and               295.00/hr
                drafted memo to counsel on MOR issues.


            SUBTOTAL:                                                                  [       56.30       13,629.50]

            Plan & Disclosure Stmt

  8/25/2006 EMB Read and comment on draft joint plan as received from First Trust.              1.10         324.50
                                                                                              295.00/hr

  8/26/2006 EMB Conference call with counsel and committee chairman to discuss                  0.40         118.00
                plan proposal as received from FTDF.                                          295.00/hr

  8/28/2006 EMB Review proposed draft of plan.                                                  0.50         147.50
                                                                                              295.00/hr

  8/29/2006 EMB Read and make comments on draft of plan as distributed by                       1.30         383.50
                debtors' counsel.                                                             295.00/hr

            EMB Follow up conference call with all committe professionals and                   1.20         354.00
                debtor to discuss plan issues.                                                295.00/hr

            EMB Further review of plan as modified by Rob Charles.                              0.30             88.50
                                                                                              295.00/hr

            EMB Conference call with USACM ans DTF professionals to disucss                     1.10         324.50
                plan issues.                                                                  295.00/hr

  8/30/2006 EMB Continue to read and comment on debtors' proposed plan.                         0.80         236.00
                                                                                              295.00/hr

  8/31/2006 EMB Follow up with counsel on alternative plan issues.                              0.80         236.00
                                                                                              295.00/hr

            EMB Participated in muti committee meeting to discuss plan and sale                 3.80        1,121.00
                issues.                                                                       295.00/hr

   9/5/2006 EMB Particpated on all hands conference call including debtor to discuss            1.80         531.00
                plan related issues including sale issues.                                    295.00/hr

  9/13/2006 EMB Read latest version of plan term sheet                                          0.80         236.00
                                                                                              295.00/hr
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                                                                                      Hrs/Rate         Amount

  9/14/2006 EMB Particpate on conference call to discuss plan issues.                     2.10         619.50
                                                                                        295.00/hr

            EMB Review latest redline version of joint term sheet.                        0.60         177.00
                                                                                        295.00/hr

  9/15/2006 EMB Conference call with Mesirow and other FA's to discuss proposed           1.20         354.00
                bid proceedures.                                                        295.00/hr

  9/18/2006 EMB Call with counsel and DTDF counsel to disucss term sheet issues           0.40         118.00
                and set up calls.                                                       295.00/hr

  9/19/2006 EMB Read and made comments to counsel on latest proposed plan term            1.10         324.50
                sheet.                                                                  295.00/hr

            EMB Conversation with committee member regarding plan issues and              0.60         177.00
                potential sale.                                                         295.00/hr

            EMB Read and made notes and comments on debtors' plan and                     2.30         678.50
                disclosure statements as field with the court.                          295.00/hr

            EMB Analysis of liquidation analysis as included in draft plan and            0.60         177.00
                compared to prior version and noted differences.                        295.00/hr

  9/20/2006 EMB Continue to read and comment on debtors' proposed plan of                 0.60         177.00
                reorganization.                                                         295.00/hr

            EMB Read latest proposed bidding procedures                                   0.20             59.00
                                                                                        295.00/hr

  9/22/2006 EMB Read and gave comments to counsel on issues to be voted on by             0.70         206.50
                committee members related to the draft plan.                            295.00/hr

            EMB Prepared analysis of insider loan guarantees associated with the          1.30         383.50
                direct lenders for plan negotiations.                                   295.00/hr

  9/27/2006 EMB Conference call with counsel and FTDF counsel on various plan             0.60         177.00
                issues.                                                                 295.00/hr

  10/2/2006 EMB Review changes to latest version of plan/                                 0.90         265.50
                                                                                        295.00/hr

  10/5/2006 EMB Review and comment on latest joint plan term sheet                        1.10         324.50
                                                                                        295.00/hr

            EMB Conversation with counsel regarding joint term sheet.                     0.40         118.00
                                                                                        295.00/hr

            EMB Begin analysis of prepaid interest per fund and tied to joint term        0.40         118.00
                sheet data.                                                             295.00/hr
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                                                                                     Hrs/Rate         Amount

  10/6/2006 EMB Conversation with counsel service fee and management fees to be          0.40         118.00
                tied to plan negotitations                                             295.00/hr

  10/9/2006 EMB Create analysis of management and additional service fees to be          1.30         383.50
                paid by FTDF per recent plan negotiations and repsonded to             295.00/hr
                questions from counsel.

            EMB Conversation with counsel on plan issues and negotiation items           0.40         118.00
                with other estates.                                                    295.00/hr

            EMB Participated on all hands conference call to discuss plan issues.        1.10         324.50
                                                                                       295.00/hr

 10/10/2006 EMB Read and comment on latest version proposed term sheet.                  0.40         118.00
                                                                                       295.00/hr

            EMB Conversation with committee member regarding plan issues.                0.60         177.00
                                                                                       295.00/hr

            EMB Discussed meeting in LA for plan settlement with counsel.                0.20             59.00
                                                                                       295.00/hr

 10/11/2006 EMB Follow up meeting with counsel and committee chair regarding IP          0.90         265.50
                issues.                                                                295.00/hr

 10/12/2006 EMB Research DTDF alleged offset issues with USACM.                          0.30             88.50
                                                                                       295.00/hr

            EMB Follow up with counsel on plan negotiations and settlement               0.40         118.00
                proposals                                                              295.00/hr

            EMB Participated in meeting with the other estates to work on plan           5.10        1,504.50
                issues.                                                                295.00/hr

 10/13/2006 EMB Meeting with other estates on plan settlement issues.                    3.40        1,003.00
                                                                                       295.00/hr

 10/14/2006 EMB Call with counsel and committee chair to discuss plan issues.            0.90         265.50
                                                                                       295.00/hr

 10/16/2006 EMB Read and comment on counsel's draft of recent plan issues.               1.10         324.50
                                                                                       295.00/hr

 10/17/2006 EMB Review of latest proposed term sheet.                                    0.40         118.00
                                                                                       295.00/hr

            EMB Conversation with counsel to discuss plan issues.                        0.40         118.00
                                                                                       295.00/hr

 10/18/2006 EMB Read and comment on latest joint plan term sheet.                        1.10         324.50
                                                                                       295.00/hr
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                                                                                      Hrs/Rate         Amount

 10/18/2006 EMB Read and comment on plan memo from counsel and noted fee                  0.90         265.50
                issues.                                                                 295.00/hr

 10/20/2006 EMB Conversation with counsel regarding plan issues and drafted               1.10         324.50
                summary of issues for counsel.                                          295.00/hr

 10/23/2006 EMB Review and comment on latest version of plan term sheet.                  0.30             88.50
                                                                                        295.00/hr

            EMB Read counsel's memo on last weeks court hearing particularly the          0.20             59.00
                issues regarding the sale and plan.                                     295.00/hr

 10/24/2006 EMB Follow up conversation with counsel on plan issues.                       0.50         147.50
                                                                                        295.00/hr

            EMB Participate on conferene call with counsel and DTDF to discuss            1.00         295.00
                plan negotiations.                                                      295.00/hr

 10/26/2006 EMB Conversation with counsel on conversion issues and recent plan            0.20             59.00
                discussions.                                                            295.00/hr

            EMB Read and comment on latest version of join plan term shett as well        0.70         206.50
                as comments from FTDF counsel.                                          295.00/hr

 10/27/2006 EMB Analysis of revisions to term sheet as proposed by DTDF.                  0.80         236.00
                                                                                        295.00/hr

            EMB Conference call with counsel and committe to discuss plan term            2.10         619.50
                sheet.                                                                  295.00/hr

 10/30/2006 EMB Read and comment on Rob's notes to Marc on plan issues.                   0.30             88.50
                                                                                        295.00/hr

            DWT Reviewed plan issues and issues related to DTDF                           2.50         625.00
                                                                                        250.00/hr

            EMB Participate on call with other committees to discuss plan issues.         0.90         265.50
                                                                                        295.00/hr

 10/31/2006 EMB Continued conference call to discuss plan issues with other               1.50         442.50
                committees.                                                             295.00/hr

  11/1/2006 EMB Participate on call with GUC Committee to discuss plan issues.            3.10         914.50
                                                                                        295.00/hr

            EMB Call with FTI to discuss plan issues.                                     0.20             59.00
                                                                                        295.00/hr

            EMB Research various issues in the proposed joint term sheet per              0.80         236.00
                request of counsel.                                                     295.00/hr
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                                                                                       Hrs/Rate         Amount

  11/2/2006 EMB Conference call with DTDF advisors to discuss plan issues.                 1.50         442.50
                                                                                         295.00/hr

            EMB Create cash flow analysis of recoveries to various parties in the          0.60         177.00
                USACM estate and discussed with FTI.                                     295.00/hr

  11/3/2006 EMB Review latest version of proposed joint plan term sheet.                   1.30         383.50
                                                                                         295.00/hr

            EMB Review proposed plan settlement as propsoed by DTDF and                    0.70         206.50
                repsonded to counsel on issues.                                          295.00/hr

  11/5/2006 EMB Conference call with Debtor and other committees to discuss plan           2.30         678.50
                and realted issues.                                                      295.00/hr

            EMB Read and review latest versions of plan and proposed term sheet.           1.10         324.50
                                                                                         295.00/hr

  11/6/2006 EMB Particiapted in part of disclosure statement call with debtors and         0.40         118.00
                other committees.                                                        295.00/hr

            EMB Conversation with Mesiorw to dicuss intercompany claim issues.             0.40         118.00
                                                                                         295.00/hr

            EMB Review and comment on proposed balloting proceedures.                      0.30             88.50
                                                                                         295.00/hr

            EMB Read numerous e mails from debtor and counsel regarding plan               0.70         206.50
                changes and suggestions.                                                 295.00/hr

            EMB Particiapted on conference call with Debtor and other committees           2.90         855.50
                to finalize plan issues                                                  295.00/hr

  11/7/2006 EMB Particpate on conferene call to discuss disclosure statement               1.70         501.50
                                                                                         295.00/hr

            EMB Follow up on questions and issues from counsel to be include in            0.30             88.50
                disclosure statement.                                                    295.00/hr

            EMB Read and comment on latest version of disclosure statement.                1.40         413.00
                                                                                         295.00/hr

  11/8/2006 EMB Follow up with counsel on issues regarding setting up the trust for        0.60         177.00
                USACM creditors per the plan.                                            295.00/hr

            EMB Conversation with counsel to discuss setting up trust and trustee          0.40         118.00
                issues.                                                                  295.00/hr

            EMB Read and comment on the various versions of the notice of filing           0.50         147.50
                disclosure statement summary.                                            295.00/hr
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                                                                                      Hrs/Rate         Amount

  11/9/2006 EMB Reviewed and replied to various emails regarding plan and DS.             0.60         177.00
                                                                                        295.00/hr

            EMB Follow up conversation with counsel and DTDF to discuss plan              0.50         147.50
                settlement issues.                                                      295.00/hr

 11/10/2006 EMB Review e mails with debtor to discuss plan language on pre paid           0.50         147.50
                interest and commented on edits.                                        295.00/hr

            EMB Participate on all hands call to discuss Realty Advisor and Plan          0.70         206.50
                issues.                                                                 295.00/hr

            EMB Drafted recovery analysis for committee chairperson per plan              1.10         324.50
                proposal.                                                               295.00/hr

            EMB Read and comment on plan language regarding post petition loan            1.10         324.50
                assignment.                                                             295.00/hr

 11/11/2006 EMB Conference call with Debtor regarding plan language.                      0.60         177.00
                                                                                        295.00/hr

            EMB Conversations with Susan Smith, direct lender counsel and Rob             1.40         413.00
                Charles regarding plan language on accrued service fees.                295.00/hr

 11/12/2006 EMB Analysis of Susan Smith accrued service fees and drafted follow up        1.10         324.50
                questions.                                                              295.00/hr

            EMB Follow up with counsel on plan language and respond to various            0.80         236.00
                questions.                                                              295.00/hr

 11/13/2006 EMB Listen to court hearing on disclosure statement                           1.30         383.50
                                                                                        295.00/hr

            EMB Respond to debtor's request for input on liquidation analysis             0.40         118.00
                assumptions.                                                            295.00/hr

 11/14/2006 EMB Respond to additional issues involving funds in the operating             0.40         118.00
                accounts as of the petition date.                                       295.00/hr

            EMB Drafted issues to be considered for the USACM UCC trust and sent          0.80         236.00
                to counsel.                                                             295.00/hr

            EMB Review voting from USACM GUCC on letter to be included in Plan.           0.20             59.00
                                                                                        295.00/hr

            EMB Review latest proposed ballot and instructions and gave comments.         0.30             88.50
                                                                                        295.00/hr

            EMB Read e mails regarding the latest changes to the Plan and DS.             0.70         206.50
                                                                                        295.00/hr
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                                                                                      Hrs/Rate         Amount

 11/14/2006 EMB Work with counsel on language and response to Hypotethical                0.20             59.00
                lender scenario.                                                        295.00/hr

            EMB Read and comment on letter from USACM UCC in support of Plan.             0.20             59.00
                                                                                        295.00/hr

 11/15/2006 EMB Follow up with counsel on potential trustee candidates.                   0.60         177.00
                                                                                        295.00/hr

 11/16/2006 EMB Communicate with counsel on potential trustee candidates.                 0.30             88.50
                                                                                        295.00/hr

            EMB Analysis and review of the debtor's final liquidation analysis and        0.50         147.50
                noted recovery percentages and issues.                                  295.00/hr

 11/20/2006 EMB Read and review various resumes of potential trustee candidates.          0.60         177.00
                                                                                        295.00/hr

            EMB Participated on call with potential trustee candidates.                   1.00         295.00
                                                                                        295.00/hr

            EMB Read and comment on USACM overview for the benefit of potential           0.40         118.00
                trustee candidates.                                                     295.00/hr

 11/21/2006 EMB Read and comment on memo from direct lender and repsonded to              0.70         206.50
                counsel.                                                                295.00/hr

            EMB Particpated on conferene call to discuss memo from direct lender.         0.90         265.50
                                                                                        295.00/hr

 11/22/2006 EMB Review and respond to drafts of reponse to plan solisitation memo         0.40         118.00
                to creditors.                                                           295.00/hr

            EMB Drafted questions to be asked to potential trustee candidates per         0.50         147.50
                request of committee.                                                   295.00/hr

            EMB Read and comment to cousel on Debtor's application for approval           0.60         177.00
                for addtional solisitation information                                  295.00/hr

            EMB Read proposed stipulation on overbid allocation agreement and             0.30             88.50
                gave comments to counsel.                                               295.00/hr

 11/24/2006 EMB Participated in follow up meeting with counsel and committee to           2.50         737.50
                discuss potential trustee candidates.                                   295.00/hr

 11/27/2006 EMB Read and make comments on proposed trust agreement                        0.80         236.00
                                                                                        295.00/hr

            EMB Prepare for and attend interviews of potential trustee candidates.        6.50        1,917.50
                                                                                        295.00/hr
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                                                                                    Hrs/Rate         Amount

 11/27/2006 EMB Follow up conversations with trustee candidates and answered            0.50         147.50
                questions.                                                            295.00/hr

 11/28/2006 EMB Drafted e mail to committee and counsel regarding trustee               0.50         147.50
                candidate appointment.                                                295.00/hr

            EMB Conversation with potential bidder regarding asset issues.              0.60         177.00
                                                                                      295.00/hr

            EMB Conversations with potential trustee candidates and answered            0.30             88.50
                additional questions                                                  295.00/hr

            EMB Read and make comments to follow up e mail to potential trustee         0.40         118.00
                candidates.                                                           295.00/hr

 11/29/2006 EMB Finished reading and making changes to proposed trust agreement         0.40         118.00
                                                                                      295.00/hr

            EMB Conversation with committee member to discuss trustee issues.           0.30             88.50
                                                                                      295.00/hr

            EMB Respond to e mails on loan servicing language to be included            0.20             59.00
                                                                                      295.00/hr

            EMB Read and respond to follow up e mails to trustee candidates.            0.30             88.50
                                                                                      295.00/hr

            EMB Read order for settlement conference and responded to counsel.          0.20             59.00
                                                                                      295.00/hr

            EMB Conversation with Trustee candidate to discuss work sharing             0.70         206.50
                issues,                                                               295.00/hr

            EMB Sent comments to counsel on proposed trust agreement.                   0.40         118.00
                                                                                      295.00/hr

 11/30/2006 EMB Conversation with potnetial trustee candidate and follow up with        0.90         265.50
                counsel.                                                              295.00/hr

            EMB Follow up with potential trustee candidate on fees and expense          0.40         118.00
                issues.                                                               295.00/hr

  12/1/2006 EMB Conversation with FTI regarding trustee selections.                     0.30             88.50
                                                                                      295.00/hr

            EMB Read and commented on latest draft of response to DTDF                  0.20             59.00
                settlement.                                                           295.00/hr

            EMB Reivew latest "Call to Action" memo received from counsel.              0.20             59.00
                                                                                      295.00/hr
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                                                                                        Hrs/Rate         Amount

  12/4/2006 EMB Follow up call with counsel on plan and settlement issues.                  0.30             88.50
                                                                                          295.00/hr

            EMB Responded to question from direct lender who filed a claim in the           0.20             59.00
                USACM estate.                                                             295.00/hr

            EMB Continue to prepare analysis of Oak Valley investment and loans             1.20         354.00
                and responded to questions from counsel regarding same.                   295.00/hr

            EMB Drafted memo to counsel to discuss and outline changes to                   0.60         177.00
                settlement offer to DTDF.                                                 295.00/hr

            EMB Prepared analysis of USACM assets proposed to be purchased by               1.40         413.00
                potential bidder and sent to counsel for review and comment.              295.00/hr

            EMB Conversation with counsel regarding assets to be purchased by               0.20             59.00
                potential bidder.                                                         295.00/hr

  12/6/2006 EMB Read DTDF's proposed settlement offer to be discussed in                    0.70         206.50
                settlement conference next week.                                          295.00/hr

  12/8/2006 EMB Particiapte on conference call with UCC committee to discuss trust          1.70         501.50
                and trustee issues.                                                       295.00/hr

 12/11/2006 EMB Particapte on call with Debtor and other committees to discuss              0.60         177.00
                balloting and confirmation issues.                                        295.00/hr

            EMB Read additional disclosure and realted exhibits related to the trust        0.60         177.00
                as filed by the GUC committee.                                            295.00/hr

 12/12/2006 EMB Downloaded schedules and performed analysis related to today's              1.40         413.00
                settlement conference with DTDF.                                          295.00/hr

            EMB Attended and participated in settlement conference with DTDF                4.20        1,239.00
                                                                                          295.00/hr

 12/13/2006 EMB Review Liberty's objection to plan.                                         0.20             59.00
                                                                                          295.00/hr

            EMB Review motions for temporary allowance of claims for voting                 0.30             88.50
                purposes.                                                                 295.00/hr

            EMB Review objection to various claims.                                         0.60         177.00
                                                                                          295.00/hr

            EMB Review and comment of joinder in objection to plan confirmation.            0.30             88.50
                                                                                          295.00/hr

 12/18/2006 EMB Reasearch certain creditors and claim amounts who voted against             0.40         118.00
                plan and discussed follow up with counsel.                                295.00/hr
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                                                                                         Hrs/Rate         Amount

 12/18/2006 EMB Analyze claims objections and responses and impact on voting for             0.40         118.00
                plan.                                                                      295.00/hr

            EMB Particiapted on call with Debtor and other committees regarding              1.90         560.50
                Plan confimration hearing.                                                 295.00/hr

            EMB Read and review Debtors' reply brief in support of plan confirmation.        0.80         236.00
                                                                                           295.00/hr

            EMB Preapred analysis and schedule for counsel to be included in                 0.60         177.00
                Confirmation Order.                                                        295.00/hr

            EMB Conversation with counsel to preapre for plan confirmation hearing.          0.40         118.00
                                                                                           295.00/hr

            EMB Analysis of plan voting tabulation and noted passing and non                 0.50         147.50
                passing classes.                                                           295.00/hr

            EMB Analysis of fees and interest assumed by Compasss in preperation             1.90         560.50
                of confirmation hearing and incorporated into exhibit for possible         295.00/hr
                tesimony.

 12/19/2006 EMB Attended plan confirmation hearing.                                          7.50        2,212.50
                                                                                           295.00/hr

            EMB Meet with counsel in preparation of plan confirmation hearing.               0.60         177.00
                                                                                           295.00/hr

            EMB Continued review of brief in response to plan objections.                    0.80         236.00
                                                                                           295.00/hr

 12/20/2006 EMB Drafted memo to counsel regarding the court's comments on pre                0.40         118.00
                paid interest creditors and compromise issues.                             295.00/hr

            EMB Conversation with committee member on plan confirmation and                  0.20             59.00
                transition issues.                                                         295.00/hr

            EMB Attended plan confirmation hearing.                                          2.10         619.50
                                                                                           295.00/hr

            EMB Perform analysis on objecting creditors in class A-4 and compared            1.10         324.50
                to diverted principal and pre paid interest direct lenders.                295.00/hr

            EMB Review proposed confirmation order and gave comments on issues               0.90         265.50
                as it relates to USACM access to information.                              295.00/hr

 12/21/2006 EMB Review various e mails and attachments to the disbursing agent               0.40         118.00
                agreement.                                                                 295.00/hr
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                                                                                        Hrs/Rate         Amount

 12/21/2006 EMB Review Compass APA for language on acquired assets and                      0.70         206.50
                recommended new proposed language to be including in                      295.00/hr
                confirmation order.

             EMB Participated on conference call with Debtor and committees to              0.70         206.50
                 discuss confirmation order issues.                                       295.00/hr

 12/26/2006 EMB Review notice of intent to file objection to plan and replied to            0.30             88.50
                counsel.                                                                  295.00/hr

 12/27/2006 EMB Conversation with FTI to dicuss access to certain data and files            0.30             88.50
                post effective date.                                                      295.00/hr

   1/4/2007 EMB Read and review latest version of proposed confirmation order as            0.30             88.50
                received from counsel.                                                    295.00/hr

  1/16/2007 EMB Particiapte on conference call with Debtor and other committees to          1.70         501.50
                discuss various sale and plan transition issues.                          295.00/hr

             EMB Review and add additional items to agenda for todays conference            0.60         177.00
                 call regarding transition issues.                                        295.00/hr

  1/18/2007 EMB Review of notice of appeal as received from counsel.                        0.40         118.00
                                                                                          295.00/hr

  1/19/2007 EMB Review language of plan regarding licenses as received from                 0.20             59.00
                counsel.                                                                  295.00/hr

  1/22/2007 EMB Read e mail and attachment regarding order allowing stay.                   0.20             59.00
                                                                                          295.00/hr

  1/23/2007 EMB Analysis of the declartion of Kvarda in support of the opposition to        0.50         147.50
                the stay motion and responded to counsel with comments.                   295.00/hr

             EMB Review notice filed to not appeal stay and responded to cousnel.           0.20             59.00
                                                                                          295.00/hr

  1/31/2007 EMB Analysis of draft implementation of plan as it relates to USACM             0.50         147.50
                estate and USACM Trust and gave comments to counsel.                      295.00/hr

   2/1/2007 EMB Review various e mails from counsel regarding appeal and motions            0.40         118.00
                to file.                                                                  295.00/hr

  2/19/2007 EMB Continued correspondance with S. Smith on escrow amounts, net               0.60         177.00
                amount to USACM and realted issues and send comments to                   295.00/hr
                counsel.

  3/10/2007 EMB Participate on conference call regarding effective date transfers.          0.40         118.00
                                                                                          295.00/hr
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                                                                                           Hrs/Rate           Amount


             SUBTOTAL:                                                                [      161.30         47,471.00]

               For professional services rendered                                           1345.80       $367,984.50

             Additional Charges :

             Airfare

   8/3/2006 Airfare to/from LV                                                                                233.60

   8/7/2006 Airfare to/from LV                                                                                246.60

   8/8/2006 Airfare to/from LAX to meet at Stutman                                                            240.60

  8/10/2006 Airfare to/from LV                                                                                230.60

  8/11/2006 Airfare to/from LAS (8/15-17)                                                                     123.59

             Airfare to/from LAS, 8/15-17                                                                     258.60

  8/17/2006 Airfare to/from LV                                                                                283.60

  8/22/2006 Airfare to/from LV                                                                                246.60

             Airfare to/from LV                                                                               283.60

  10/3/2006 Airfare to/from LV - Meet with Tom Allison                                                        245.10

 10/12/2006 Airfare to/from LAX - meeting on plan                                                             240.60

 10/23/2006 Airfare to/from LV (1/2) - Meet with potential buyer                                              122.55

  12/7/2006 Airfare to / from LV for auction (TB)                                                             121.80

 12/11/2006 Airfare to/from LV (DT)                                                                           107.10

             Airfare to/from LV (JG)                                                                          245.10

 12/19/2006 Airfare to / from LV for conf. hearing (TB)                                                       112.10

   1/4/2007 Airfare to/from LV (TB meeting with Tom Allison)                                                  153.10

  2/28/2007 Airfare to/from LV (TB on 3/1 for court hearing)                                                  224.30


             SUBTOTAL:                                                                                [      3,719.14]
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                                                                                                   Amount

             Auto

   8/3/2006 Rental Car                                                                                 56.70

             Rental Car                                                                                71.14

             Rental Car Gas                                                                             1.30

  8/17/2006 Rental Car                                                                             190.03


             SUBTOTAL:                                                                      [      319.17]

             Copies

 12/12/2006 Copies for counsel at Kinkos                                                               10.60


             SUBTOTAL:                                                                      [          10.60]

             Hotel

   8/3/2006 Hotel                                                                                  175.37

             Hotel                                                                                 324.82

  8/10/2006 Hotel - 1 night                                                                        136.25

  8/17/2006 Hotel                                                                                  316.09

             Hotel - 2 nights                                                                      259.42

  8/22/2006 Hotel 1 night                                                                          129.71

  8/25/2006 Hotel                                                                                  338.09

 10/13/2006 Hotel fees in LA                                                                       317.24

  12/7/2006 Hotel fees - LV to attend auction (TB)                                                     75.21

 12/11/2006 Hotel fees in LV (DT)                                                                      86.11

 12/12/2006 Hotel fees in LV to attend settlement conf (TB)                                        107.91


             SUBTOTAL:                                                                      [     2,266.22]

             Meals

   8/1/2006 Dinner (DT)                                                                                26.50
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                                                                                                      Amount

   8/8/2006 Out of town meal in LA (TB with Rob Charles)                                                  47.33

  8/10/2006 Out of town meal (DN)                                                                         24.39

             Out of town meal (DT)                                                                        24.40

  8/15/2006 Out of town meal DN with Dave Tiffany                                                         46.33

  8/16/2006 Out of town meal (DN)                                                                         19.09

             Out of town meal (DT)                                                                        19.09

  8/17/2006 Out of town meal, DT and DN                                                                   43.00

 12/11/2006 Out of town meal (DT)                                                                         26.14

 12/12/2006 Out of town meal (DT)                                                                         16.68

   3/1/2007 Out of town meal (TB)                                                                         37.61


             SUBTOTAL:                                                                         [      330.56]

             Misc

   9/8/2006 Internet charges @ hotel during ABI conference to download e mail                             23.98


             SUBTOTAL:                                                                         [          23.98]

             Rental Car

  8/25/2006 Rental Car in LV                                                                          143.00

  8/30/2006 Rental Car Fees                                                                               72.10

 10/23/2006 Rental Car Fees (1/2)                                                                         31.92

 11/28/2006 Rental Car Fees                                                                               62.32

  12/7/2006 Rental car (1/2) in LV (TB)                                                                   58.25

 12/11/2006 Rental Car Fees (DT)                                                                          28.00

 12/12/2006 Rental car in LV for settlement conf. (TB)                                                    60.63

 12/19/2006 Rental car for conf. hearing (TB)                                                             69.72

   1/4/2007 Rental Car Fees                                                                               61.56
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                                                                                                  Amount


             SUBTOTAL:                                                                     [      587.50]

             Travel

   8/3/2006 Airport Parking                                                                           60.00

             Airport Parking                                                                          40.00

   8/8/2006 Cab from LAX to Stutman                                                                   45.00

             Parking at airport (for trip to LA)                                                      20.00

   8/9/2006 Transport to airport                                                                      58.10

  8/11/2006 Transport from airport                                                                    55.73

  8/16/2006 Transport to airport                                                                      58.10

  8/17/2006 Transport from airport to home                                                            56.05

             Airport parking                                                                          60.00

             Transport from airport                                                                   56.05

             Rental Car Gas                                                                           13.13

  8/22/2006 Transport to airport                                                                      57.10

  8/25/2006 Airport Parking                                                                           60.00

  8/30/2006 Airport Parking                                                                           20.00

 10/12/2006 Cab to meeting in LA from LAX                                                             40.00

 10/13/2006 Cab from meeting in LA to LAX                                                             30.00

             Parking at Airport                                                                       39.00

 10/23/2006 Airport parking (1/2)                                                                     10.00

  12/7/2006 Airport parking (TB)                                                                      20.00

 12/11/2006 Airport parking (DT)                                                                      20.00

             Airport parking (JG)                                                                     20.00

 12/12/2006 Airport parking (TB)                                                                      20.00

 12/19/2006 Parking at airport (TB)                                                                   20.00
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                                                                                                      Amount

 12/19/2006 Parking at conf. hearing (TB)                                                                10.00

   1/4/2007 Parking at airport                                                                           20.00

   3/1/2007 Rental car                                                                                   55.62

             Parking at airport                                                                          20.00


             SUBTOTAL:                                                                       [        983.88]

               Total costs                                                                          $8,241.05


               Total amount of this bill                                                         $376,225.55

11/21/2006 Payment - thank you. Check No. 1470                                                    ($16,832.25)
 2/22/2007 Payment - thank you. Check No. 1685                                                   ($170,441.69)
 3/15/2007 Payment - thank you. Check No. 1727                                                    ($65,738.87)

               Total payments and adjustments                                                    ($253,012.81)


             Balance due                                                                         $123,212.74




                                               Professional Summary
Name                                                                           Hours     Rate     Amount
Doug Noblitt                                                                  132.40   250.00 $33,100.00
EDWARD "TED" M. BURR                                                          759.10   295.00 $223,934.50
Dave Tiffany                                                                  422.20   250.00 $105,550.00
Josephine Giordano                                                             21.60   250.00   $5,400.00


Invoices 30 days past due are subject to a 1.5% late payment fee.
